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                     EXHIBIT 4
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 2 of 88

1· 1radeStation
             Securities                                                          (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    October 31 2022
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             November 30 2022
             8050 SW 10th Street, Suite 2000                                                                                             ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT
             Plantation, FL 3332.4




                                                                       #       000094377                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                                Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing




Long Market Value                     19,673.25    Opening Balance                                              0.00        Margin                             0.00         59,536.95

Short Market Value                         0.00    Securities Sold                                       61,046.91

Total Value of Securities            $19,673.25    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                  $0.00        $59,536.95
Cash Balance                          59,536.95    Dividends/Interest                                           3.57

Short Cash Balance                         0.00    Miscellaneous                                       109,000.00


                                                   Amount Credited                                    $170,050.48           Net Cash                          $0.00        $59,536.95
Net Cash Balance                     $59,536.95                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                  -110,513.53

Net Equity                           $79,210.20    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement                 $0.00    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement          $79,210.20    Amount Debited                                    -$110,513.53
                                                   Net Cash Activity                                   $59,536.95
                                                   Closing Balance                                     $59,536.95




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 3 of 88
        STATEMENT PERIOD
        THROUGH
                           October 31 2022
                           November 30 2022
                                                     T TradeStation~
                                                       Securities
        ACCOUNT NUMBER     11583081                                                          Page   2   of   5

                                                       8050 SW10th Street, Suite 2000
                                                       Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                          Market
Description                                                                                                        Value

Cash Balance                                                                                                      59,536.95

Total Cash and Cash Equivalents                                                                                  $59,536.95

Equities                                                          Account                                          Market
ALLEGRO MICROSYSTEMS INC DEL                  ALGM                Margin           350.000   31.140000            10,899.00
INSIGNIA SYS INC                              ISIG                Margin            75.000    8.990000               674.25
NANOVIBRONIX INC                              NAOV                Margin       20,000.000     0.405000             8,100.00



Total Equities and Options                                                                                       $19,673.25
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                          $19,673.25
                               Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 4 of 88
         STATEMENT PERIOD
         THROUGH
                                       October 31 2022
                                       November 30 2022
                                                                           T TradeStation~
                                                                                   Securities
         ACCOUNT NUMBER                11583081                                                                                  Page    3   of    5

                                                                                   8050 SW10th Street, Suite 2000
                                                                                   Plantation, FL 33324
Transaction Detail
Investment Activity
Settlement     Trade        Trans- Acct
Date           Date         action     Type   Description                            Symbol/Cusip                   Quantity     Price       Debit Amount           Credit Amount

11/25/2022   11/22/2022     Bought   Margin   ONCOSEC MED INC                         ONCS                           5,000.000    $6.200               -31,000.00

                                              COM


11/25/2022   11/22/2022     Bought   Margin   ONCOSEC MED INC                         ONCS                           5,000.000    $5.400               -27,000.00

                                              COM


11/25/2022   11/22/2022     Bought   Margin   ONCOSEC MED INC                         ONCS                           5,000.000    $4.500               -22,500.00

                                              COM


11/25/2022   11/22/2022     Sold     Margin   ONCOSEC MED INC                         ONCS                          15,000.000    $4.072                                 61,046.91

                                              COM


11/30/2022   11/28/2022     Bought   Margin   ALLEGRO MICROSYSTEMS INC DEL            ALGM                            350.000    $30.710               -10,748.50

                                              COM


11/30/2022   11/28/2022     Bought   Margin   INSIGNIA SYS INC                        ISIG                             75.000     $8.710                 -653.25

                                              COM


11/30/2022   11/28/2022     Bought   Margin   NANOVIBRONIX INC                        NAOV                          20,000.000    $0.928               -18,611.78

                                              COM


Total Investment Activity                                                                                                                         -$110,513.53          $61,046.91

Dividends and Interest
                                                   Account
Date                         Transaction           Type      Description                     Symbol/Cusip                                  Debit Amount             Credit Amount
11/30/2022                   Credit Int            Margin    .15000%11/01-11/30   $29066                                                                                       3.57


Total Dividends and Interest                                                                                                                             $0.00                $3.57

Miscellaneous Activity
                                                   Account
Date                         Transaction           Type      Description                     Symbol/Cusip                                  Debit Amount             Credit Amount
11/17/2022                   Journal               Margin    WR A/O 11/14 SOLERA NAT                                                                                     109,000.00


Total Miscellaneous                                                                                                                                      $0.00          $109,000.00

Trades Executed But Not Yet Settled
Settlement     Trade        Trans- Acct
Date           Date         action     Type   Description                            Symbol/Cusip                   Quantity     Price       Debit Amount           Credit Amount

12/01/2022   11/29/2022     Sold     Margin   NANOVIBRONIX INC                        NAOV                          20,000.000    $0.463                                  9,216.26


                                              COM
                                  Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 5 of 88
             STATEMENT PERIOD
             THROUGH
                                      October 31 2022
                                      November 30 2022
                                                                          T TradeStation~
                                                                            Securities
             ACCOUNT NUMBER           11583081                                                                               Page    4    of    5

                                                                            8050 SW10th Street, Suite 2000
                                                                            Plantation, FL 33324


Trades Executed But Not Yet Settled
Settlement      Trade      Trans- Acct
Date            Date       action   Type Description                         Symbol/Cusip                    Quantity      Price         Debit Amount        Credit Amount

12/01/2022    11/29/2022   Bought   Margin   COSMOS HLDGS INC                COSM                            10,000.000     $0.687               -6,866.80

                                             COM


12/01/2022    11/29/2022   Sold     Margin   COSMOS HLDGS INC                COSM                            10,000.000     $0.644                                 6,437.57

                                             COM


12/01/2022    11/29/2022   Bought   Margin   ENERGY TRANSFER EQUITY L P      ET                                400.000     $12.410               -4,964.00

                                             COM UT LTD PTN


12/01/2022    11/29/2022   Bought   Margin   DISNEY WALT CO                  DIS                                50.000     $94.310               -4,715.50

                                             COM DISNEY


12/01/2022    11/29/2022   Bought   Margin   OCCIDENTAL PETE CORP DEL        OXY                               100.000     $69.040               -6,904.00

                                             COM


12/01/2022    11/29/2022   Bought   Margin   VISA INC                        V                                  50.000    $208.780              -10,439.00

                                             COM CL A


12/02/2022    11/30/2022   Bought   Margin   CRESCENT PT ENERGY CORP         CPG                              1,000.000     $7.900               -7,900.00

                                             COM


12/02/2022    11/30/2022   Sold     Margin   INSIGNIA SYS INC                ISIG                               75.000      $8.300                                  622.47

                                             COM


12/02/2022    11/30/2022   Sold     Margin   ALLEGRO MICROSYSTEMS INC DEL    ALGM                              300.000     $29.484                                 8,844.88

                                             COM


12/02/2022    11/30/2022   Bought   Margin   MICROSOFT CORP                  MSFT                               40.000    $242.069               -9,682.76

                                             COM


Total Trades Executed But Not Yet Settled                                                                                                      -$51,472.06       $25,121.18
                                                 Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 6 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 7 of 88

1· 1radeStation
             Securities                                                          (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD       November 30 2022
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH                December 30 2022
             8050 SW 10th Street, Suite 2000                                                                                             ACCOUNT NUMBER         11583081
             Plantation, FL 3332.4                                                                                                       LAST STATEMENT         November 30 2022




                                                                       #       000123743                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                                Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                              Opening              Closing




Long Market Value                          0.00    Opening Balance                                       59,536.95          Cash                                  0.00              368.47

Short Market Value                         0.00    Securities Sold                                       93,210.98          Margin                           59,536.95                0.00

Total Value of Securities                 $0.00    Funds Deposited                                           300.00


                                                   Money Fund Purchase                                          0.00

Cash Balance                             368.47    Dividends/Interest                                           0.00        Net Cash Balance                $59,536.95             $368.47
Short Cash Balance                         0.00    Miscellaneous                                             376.90


                                                   Amount Credited                                     $93,887.88
Net Cash Balance                        $368.47                                                                             Net Cash                        $59,536.95             $368.47
                                                   Securities Bought                                  -152,671.03           & Cash Equivalent Balance
Net Equity                              $368.47    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement            $79,210.20    Dividends/Interest Charged                                  -8.43


                                                   Miscellaneous                                            -376.90

Change Since Last Statement          -$78,841.73   Amount Debited                                    -$153,056.36
                                                   Net Cash Activity                                  -$59,168.48
                                                   Closing Balance                                         $368.47




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                               Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 8 of 88
           STATEMENT PERIOD
           THROUGH
                                     November 30 2022
                                     December 30 2022
                                                                                 T TradeStation~
                                                                                          Securities
           ACCOUNT NUMBER            11583081                                                                                                            Page   2   of   7

                                                                                          8050 SW10th Street, Suite 2000
                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               368.47

Total Cash and Cash Equivalents                                                                                                                                                          $368.47

Equities                                                                                              Account                                                                            Market
CONTRA PFD META MATLS                                     59199&                                       Cash            9,269.000                         0.000000                              0.00



Total Equities and Options                                                                                                                                                                   $0.00
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                      $0.00

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
CONTRA PFD META MATLS                                     59199&                                                                                                                             14.63
META MATLS INC                                                                                                                                                                                7.51
CONTRA PFD META MATLS                                     59199&                                                                                                                             22.22

Total Accrued Interest                                                                                                                                                                       44.36


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                             Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 9 of 88
         STATEMENT PERIOD
         THROUGH
                                   November 30 2022
                                   December 30 2022
                                                                           T TradeStation~
                                                                             Securities
         ACCOUNT NUMBER            11583081                                                                                 Page    3   of   7

                                                                             8050 SW10th Street, Suite 2000
                                                                             Plantation, FL 33324
Transaction Detail
Investment Activity
Settlement    Trade       Trans- Acct
Date           Date       action   Type     Description                        Symbol/Cusip                   Quantity      Price       Debit Amount          Credit Amount

12/01/2022   11/29/2022   Sold     Margin   NANOVIBRONIX INC                   NAOV                           20,000.000     $0.463                                 9,216.26

                                            COM


12/01/2022   11/29/2022   Bought   Margin   COSMOS HLDGS INC                    0001010                       10,000.000     $0.687               -6,866.80

                                            COM

                                            DO NOT USE


12/01/2022   11/29/2022   Sold     Margin   COSMOS HLDGS INC                    0001010                       10,000.000     $0.644                                 6,437.57

                                            COM

                                            DO NOT USE


12/01/2022   11/29/2022   Bought   Margin   ENERGY TRANSFER EQUITY L P         ET                               400.000     $12.410               -4,964.00

                                            COM UT LTD PTN


12/01/2022   11/29/2022   Bought   Margin   DISNEY WALT CO                     DIS                               50.000     $94.310               -4,715.50

                                            COM DISNEY


12/01/2022   11/29/2022   Bought   Margin   OCCIDENTAL PETE CORP DEL           OXY                              100.000     $69.040               -6,904.00

                                            COM


12/01/2022   11/29/2022   Bought   Margin   VISA INC                           V                                 50.000    $208.780              -10,439.00

                                            COM CL A


12/02/2022   11/30/2022   Bought   Margin   CRESCENT PT ENERGY CORP            CPG                             1,000.000     $7.900               -7,900.00

                                            COM


12/02/2022   11/30/2022   Sold     Margin   INSIGNIA SYS INC                   ISIG                              75.000      $8.300                                  622.47

                                            COM


12/02/2022   11/30/2022   Sold     Margin   ALLEGRO MICROSYSTEMS INC DEL       ALGM                             300.000     $29.484                                 8,844.88

                                            COM


12/02/2022   11/30/2022   Bought   Margin   MICROSOFT CORP                     MSFT                              40.000    $242.069               -9,682.76

                                            COM


12/06/2022   12/02/2022   Bought   Margin   CLOUDFLARE INC                     NET                              100.000     $49.000               -4,900.00

                                            CL A COM


12/06/2022   12/02/2022   Bought   Margin   VISTA OIL & GAS S A B DE C V       VIST                             400.000     $13.660               -5,464.00

                                            SPONSORED ADS


12/06/2022   12/02/2022   Bought   Margin   BARRICK GOLD CORP                  GOLD                             200.000     $16.980               -3,396.00

                                            COM


12/07/2022   12/05/2022   Sold     Margin   OCCIDENTAL PETE CORP DEL           OXY                              100.000     $68.900                                 6,889.83

                                            COM


12/07/2022   12/05/2022   Bought   Margin   ATOUR LIFESTYLE HOLDINGS LTD       ATAT                             300.000     $18.610               -5,583.00


                                            ADS
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 10 of 88
             STATEMENT PERIOD
             THROUGH
                                      November 30 2022
                                      December 30 2022
                                                                 T TradeStation~
                                                                   Securities
             ACCOUNT NUMBER           11583081                                                                    Page    4    of   7

                                                                   8050 SW10th Street, Suite 2000
                                                                   Plantation, FL 33324


Investment Activity
Settlement      Trade      Trans- Acct
Date            Date       action   Type Description                Symbol/Cusip                    Quantity    Price         Debit Amount        Credit Amount

12/07/2022    12/05/2022   Sold     Margin   DISNEY WALT CO         DIS                                50.000   $99.000                                 4,949.87

                                             COM DISNEY


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                           500.000    $7.996              -3,998.00

                                             PFD SER A

                                             DO NOT USE


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         MMAT                            2,000.000    $1.775              -3,551.00

                                             COM


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                         1,000.000    $8.017              -8,017.00

                                             PFD SER A

                                             DO NOT USE


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                           100.000    $7.950                 -795.00

                                             PFD SER A

                                             DO NOT USE


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                           500.000    $7.990              -3,994.98

                                             PFD SER A

                                             DO NOT USE


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                           400.000    $7.960              -3,184.00

                                             PFD SER A

                                             DO NOT USE


12/07/2022    12/05/2022   Sold     Margin   META MATLS INC         MMAT                            2,000.000    $1.781                                 3,561.05


                                             COM


12/07/2022    12/05/2022   Bought   Margin   META MATLS INC         0001010                           500.000    $7.890              -3,945.00


                                             PFD SER A

                                             DO NOT USE


12/08/2022    12/06/2022   Sold     Margin   BARRICK GOLD CORP      GOLD                              200.000   $16.450                                 3,289.89

                                             COM


12/08/2022    12/06/2022   Sold     Margin   CLOUDFLARE INC         NET                               100.000   $43.185                                 4,318.39

                                             CL A COM


12/08/2022    12/06/2022   Bought   Margin   META MATLS INC         MMAT                            1,000.000    $1.995              -1,995.00

                                             COM


12/08/2022    12/06/2022   Bought   Margin   META MATLS INC         0001010                           100.000    $8.440                 -844.00

                                             PFD SER A


                                             DO NOT USE


12/08/2022    12/06/2022   Bought   Margin   META MATLS INC         0001010                         3,800.000    $8.196             -31,143.70

                                             PFD SER A


                                             DO NOT USE
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 11 of 88
             STATEMENT PERIOD
             THROUGH
                                       November 30 2022
                                       December 30 2022
                                                                             T TradeStation~
                                                                               Securities
             ACCOUNT NUMBER            11583081                                                                                Page    5    of   7

                                                                               8050 SW10th Street, Suite 2000
                                                                               Plantation, FL 33324


Investment Activity
Settlement      Trade      Trans- Acct
Date            Date       action    Type Description                           Symbol/Cusip                    Quantity     Price         Debit Amount        Credit Amount

12/09/2022    12/07/2022   Sold      Margin   MICROSOFT CORP                    MSFT                               40.000   $242.610                                 9,704.16

                                              COM


12/09/2022    12/07/2022   Sold      Margin   VISA INC                          V                                  50.000   $207.790                                10,389.25

                                              COM CL A


12/09/2022    12/07/2022   Bought    Margin   META MATLS INC                    0001010                         1,525.000     $9.900             -15,097.50

                                              PFD SER A

                                              DO NOT USE


12/09/2022    12/07/2022   Sold      Margin   CRESCENT PT ENERGY CORP           CPG                             1,000.000     $6.931                                 6,930.61

                                              COM


12/09/2022    12/07/2022   Sold      Margin   ATOUR LIFESTYLE HOLDINGS LTD      ATAT                              300.000    $14.930                                 4,478.85

                                              ADS


12/09/2022    12/07/2022   Sold      Margin   VISTA OIL & GAS S A B DE C V      VIST                              400.000    $12.800                                 5,119.83

                                              SPONSORED ADS


12/09/2022    12/07/2022   Sold      Margin   ALLEGRO MICROSYSTEMS INC DEL      ALGM                               50.000    $31.760                                 1,587.96

                                              COM


12/09/2022    12/07/2022   Sold      Margin   META MATLS INC                    MMAT                            1,000.000     $2.130                                 2,129.82

                                              COM


12/09/2022    12/07/2022   Bought    Margin   META MATLS INC                    0001010                           114.000     $8.091                 -922.40

                                              PFD SER A

                                              DO NOT USE


12/09/2022    12/07/2022   Sold      Margin   ENERGY TRANSFER EQUITY L P        ET                                400.000    $11.851                                 4,740.29

                                              COM UT LTD PTN


12/09/2022    12/07/2022   Bought    Margin   META MATLS INC                    0001010                           250.000     $8.400              -2,100.00

                                              PFD SER A


                                              DO NOT USE


12/09/2022    12/07/2022   Bought    Margin   META MATLS INC                    0001010                            30.000     $8.413                 -252.39


                                              PFD SER A

                                              DO NOT USE


12/12/2022    12/08/2022   Bought    Margin   META MATLS INC                    0001010                           450.000     $4.480              -2,016.00

                                              PFD SER A


                                              DO NOT USE


12/13/2022    12/13/2022   Journal   Margin   META MATLS INC                    0001010                           450.000

                                              CORPORATE ACTION


12/13/2022    12/13/2022   Journal   Margin   META MATLS INC                    0001010                         8,819.000

                                              CORPORATE ACTION


12/13/2022    12/13/2022   Journal   Margin   CONTRA PFD META MATLS             59199&                            450.000

                                              CORPORATE ACTION
                               Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 12 of 88
             STATEMENT PERIOD
             THROUGH
                                         November 30 2022
                                         December 30 2022
                                                                              T TradeStation~
                                                                                      Securities
             ACCOUNT NUMBER              11583081                                                                                   Page   6    of   7

                                                                                      8050 SW10th Street, Suite 2000
                                                                                      Plantation, FL 33324


Investment Activity
Settlement      Trade       Trans- Acct
Date            Date        action     Type Description                               Symbol/Cusip                     Quantity    Price       Debit Amount       Credit Amount

12/13/2022    12/13/2022    Journal   Margin   CONTRA PFD META MATLS                   59199&                          8,819.000

                                               CORPORATE ACTION


12/20/2022    12/20/2022    Journal   Cash     CONTRA PFD META MATLS                   59199&                            450.000

                                               TRANSFER FROM 11583081 2


12/20/2022    12/20/2022    Journal   Cash     CONTRA PFD META MATLS                   59199&                          8,819.000

                                               TRANSFER FROM 11583081 2


12/20/2022    12/20/2022    Journal   Margin   CONTRA PFD META MATLS                   59199&                            450.000

                                               TRANSFER TO 11583081 1


12/20/2022    12/20/2022    Journal   Margin   CONTRA PFD META MATLS                   59199&                          8,819.000

                                               TRANSFER TO 11583081 1


Total Investment Activity                                                                                                                        -$152,671.03         $93,210.98

Deposits and Withdrawals
                                                    Account
Date                         Transaction            Type      Description                   Symbol/Cusip                                   Debit Amount           Credit Amount
12/15/2022                   Funds Deposited        Margin    WIRE REC'D SOLERA NAT                                                                                       300.00


Total Deposits and Withdrawals                                                                                                                           $0.00           $300.00

Dividends and Interest
                                                    Account
Date                         Transaction            Type      Description                   Symbol/Cusip                                   Debit Amount           Credit Amount
12/30/2022                   Debit Int              Cash      12.50000%12/01-12/30   $820                                                                 -8.43


Total Dividends and Interest                                                                                                                             -$8.43            $0.00

Miscellaneous Activity
                                                    Account
Date                         Transaction            Type      Description                   Symbol/Cusip                                   Debit Amount           Credit Amount
12/23/2022                   Journal                Cash                                                                                                                  376.90


12/23/2022                   Journal                Margin                                                                                            -376.90


Total Miscellaneous                                                                                                                                  -$376.90            $376.90
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 13 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 14 of 88

1· 1radeStation
             Securities                                                          (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    December 30 2022
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             January 31 2023
             8050 SW 10th Street, Suite 2000                                                                                             ACCOUNT NUMBER      11583081
             Plantation, FL 3332.4                                                                                                       LAST STATEMENT      December 30 2022




                                                                       #       000093880                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing




Long Market Value                          0.00    Opening Balance                                           368.47         Cash                             368.47              412.83

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities                 $0.00    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $368.47             $412.83
Cash Balance                             412.83    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              74.09


                                                   Amount Credited                                           $74.09         Net Cash                        $368.47             $412.83
Net Cash Balance                        $412.83                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                            0.00

Net Equity                              $412.83    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $368.47    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                             -29.73

Change Since Last Statement              $44.36    Amount Debited                                           -$29.73
                                                   Net Cash Activity                                         $44.36
                                                   Closing Balance                                         $412.83




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 15 of 88
           STATEMENT PERIOD
           THROUGH
                                     December 30 2022
                                     January 31 2023
                                                                                 T TradeStation~
                                                                                          Securities
           ACCOUNT NUMBER            11583081                                                                                                            Page   2   of   4

                                                                                          8050 SW10th Street, Suite 2000
                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               412.83

Total Cash and Cash Equivalents                                                                                                                                                          $412.83

Equities                                                                                              Account                                                                            Market
CONTRA PFD META MATLS                                     59199&                                       Cash            9,269.000                         0.000000                              0.00



Total Equities and Options                                                                                                                                                                   $0.00
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                      $0.00

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
CONTRA PFD META MATLS                                     59199&                                                                                                                             35.19

Total Accrued Interest                                                                                                                                                                       35.19


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 16 of 88
         STATEMENT PERIOD
         THROUGH
                                 December 30 2022
                                 January 31 2023
                                                                     T TradeStation~
                                                                       Securities
         ACCOUNT NUMBER          11583081                                                               Page   3   of   4

                                                                       8050 SW10th Street, Suite 2000
                                                                       Plantation, FL 33324
Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description             Symbol/Cusip                    Debit Amount           Credit Amount
01/04/2023             Journal               Cash      FPL REVENUE                                                                            14.63

01/04/2023             Journal               Margin    FPL REVENUE                                                                            29.73

01/25/2023             Journal               Cash                                                                                             29.73

01/25/2023             Journal               Margin                                                                          -29.73


Total Miscellaneous                                                                                                         -$29.73          $74.09
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 17 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 18 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    January 31 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             February 28 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      January 31 2023




                                                                       #       000091102                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing




Long Market Value                        158.86    Opening Balance                                           412.83         Cash                             412.83              147.72

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities               $158.86    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $412.83             $147.72
Cash Balance                             147.72    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              35.19


                                                   Amount Credited                                           $35.19         Net Cash                        $412.83             $147.72
Net Cash Balance                        $147.72                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                        -300.30

Net Equity                              $306.58    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $412.83    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement            -$106.25    Amount Debited                                         -$300.30
                                                   Net Cash Activity                                      -$265.11
                                                   Closing Balance                                         $147.72




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 19 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     January 31 2023
                                     February 28 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                         Page   2   of   4




                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               147.72

Total Cash and Cash Equivalents                                                                                                                                                          $147.72

Equities                                                                                              Account                                                                            Market
GLOBAL TECH INDS GROUP INC                                GTII                                         Cash               110.000                        1.359900                           149.59
CONTRA PFD META MATLS                                     59199&                                       Cash            9,269.000                         0.001000                              9.27



Total Equities and Options                                                                                                                                                                $158.86
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $158.86

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
CONTRA PFD META MATLS                                     59199&                                                                                                                             31.64

Total Accrued Interest                                                                                                                                                                       31.64


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 20 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                       January 31 2023
                                       February 28 2023
                                       11583081
                                                                       T TradeStation®
                                                                           8050 SW10th Street, Suite 2000
                                                                                                                        Page    3   of   4




                                                                           Plantation, FL 33324
Transaction Detail
Investment Activity
Settlement     Trade        Trans- Acct
Date           Date         action     Type   Description                    Symbol/Cusip                   Quantity    Price       Debit Amount        Credit Amount

02/06/2023   02/02/2023     Bought   Cash     GLOBAL TECH INDS GROUP INC     GTII                             110.000   $2.730                -300.30

                                              COM


Total Investment Activity                                                                                                                    -$300.30           $0.00

Miscellaneous Activity
                                                   Account
Date                         Transaction           Type      Description            Symbol/Cusip                                 Debit Amount           Credit Amount
02/02/2023                   Journal               Cash      FPL REVENUE                                                                                         35.19


Total Miscellaneous                                                                                                                          $0.00              $35.19
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 21 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 22 of 88

,· 1radeStatiQn                                                                   (954) 652-7920 * (800) 871-3577                        STATEMENT PERIOD    February 28 2023
             8050 SW 10th Street, Suite 2000
                                                                                  www.tradestation.com
                                                                                  ___________________                                    THROUGH             March 31 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      February 28 2023




                                                                       #       000118432                                  I=0000


                                                                           .. .   INTER-COASTAL WATERWAYS LLC

                                                                       R          5 SEAFARERS CIR
                                                                                  SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing




Long Market Value                        210.57    Opening Balance                                           147.72         Cash                             147.72              179.36

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities               $210.57    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $147.72             $179.36
Cash Balance                             179.36    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              31.64


                                                   Amount Credited                                           $31.64         Net Cash                        $147.72             $179.36
Net Cash Balance                        $179.36                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                            0.00

Net Equity                              $389.93    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $306.58    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement              $83.35    Amount Debited                                             $0.00
                                                   Net Cash Activity                                         $31.64
                                                   Closing Balance                                         $179.36




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 23 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     February 28 2023
                                     March 31 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                         Page   2   of   4




                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               179.36

Total Cash and Cash Equivalents                                                                                                                                                          $179.36

Equities                                                                                              Account                                                                            Market
GLOBAL TECH INDS GROUP INC                                GTII                                         Cash               110.000                        1.830000                           201.30
CONTRA PFD META MATLS                                     59199&                                       Cash            9,269.000                         0.001000                              9.27



Total Equities and Options                                                                                                                                                                $210.57
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $210.57

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
CONTRA PFD META MATLS                                     59199&                                                                                                                             35.03

Total Accrued Interest                                                                                                                                                                       35.03


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 24 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 February 28 2023
                                 March 31 2023
                                 11583081
                                                                 T TradeStation®
                                                                     8050 SW10th Street, Suite 2000
                                                                                                      Page   3   of   4




                                                                     Plantation, FL 33324
Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description           Symbol/Cusip                    Debit Amount         Credit Amount
03/02/2023             Journal               Cash      FPL REVENUE                                                                        31.64


Total Miscellaneous                                                                                                       $0.00          $31.64
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 25 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 26 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    March 31 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             April 28 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      March 31 2023




                                                                       #       000089236                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening          Closing




Long Market Value                        183.07    Opening Balance                                           179.36         Cash                             179.36           214.39

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities               $183.07    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $179.36          $214.39
Cash Balance                             214.39    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              35.03


                                                   Amount Credited                                           $35.03         Net Cash                        $179.36          $214.39
Net Cash Balance                        $214.39                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                            0.00

Net Equity                              $397.46    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $389.93    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement               $7.53    Amount Debited                                             $0.00
                                                   Net Cash Activity                                         $35.03
                                                   Closing Balance                                         $214.39




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 27 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     March 31 2023
                                     April 28 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                         Page   2   of   4




                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               214.39

Total Cash and Cash Equivalents                                                                                                                                                          $214.39

Equities                                                                                              Account                                                                            Market
GLOBAL TECH INDS GROUP INC                                GTII                                         Cash               110.000                        1.580000                           173.80
NEXT BRIDGE HYDROCARBONS                                  59199&                                       Cash            9,269.000                         0.001000                              9.27



Total Equities and Options                                                                                                                                                                $183.07
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $183.07

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
GLOBAL TECH INDS GROUP INC                                GTII                                                                                                                                0.00
NEXT BRIDGE HYDROCARBONS                                  59199&                                                                                                                             33.90

Total Accrued Interest                                                                                                                                                                       33.90


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 28 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 March 31 2023
                                 April 28 2023
                                 11583081
                                                                 T TradeStation®
                                                                     8050 SW10th Street, Suite 2000
                                                                                                      Page   3   of   4




                                                                     Plantation, FL 33324
Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description           Symbol/Cusip                    Debit Amount         Credit Amount
04/04/2023             Journal               Cash      FPL REVENUE                                                                        35.03


Total Miscellaneous                                                                                                       $0.00          $35.03
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 29 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 30 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    April 28 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             May 31 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      April 28 2023




                                                                       #       000089437                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening          Closing




Long Market Value                        118.17    Opening Balance                                           214.39         Cash                             214.39           248.29

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities               $118.17    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $214.39          $248.29
Cash Balance                             248.29    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              33.90


                                                   Amount Credited                                           $33.90         Net Cash                        $214.39          $248.29
Net Cash Balance                        $248.29                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                            0.00

Net Equity                              $366.46    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $397.46    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement             -$31.00    Amount Debited                                             $0.00
                                                   Net Cash Activity                                         $33.90
                                                   Closing Balance                                         $248.29




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 31 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     April 28 2023
                                     May 31 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                         Page   2   of   4




                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               248.29

Total Cash and Cash Equivalents                                                                                                                                                          $248.29

Equities                                                                                              Account                                                                            Market
GLOBAL TECH INDS GROUP INC                                GTII                                         Cash               110.000                        0.990000                           108.90
CONTRA GLOBAL TECH IND                                    379CNÝ                                       Cash                11.000                        0.000000                              0.00
NEXT BRIDGE HYDROCARBONS                                  59199&                                       Cash            9,269.000                         0.001000                              9.27



Total Equities and Options                                                                                                                                                                $118.17
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $118.17

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
NEXT BRIDGE HYDROCARBONS                                  59199&                                                                                                                             25.43

Total Accrued Interest                                                                                                                                                                       25.43


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 32 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                       April 28 2023
                                       May 31 2023
                                       11583081
                                                                           T TradeStation®
                                                                               8050 SW10th Street, Suite 2000
                                                                                                                           Page    3   of   4




                                                                               Plantation, FL 33324
Transaction Detail
Investment Activity
Settlement     Trade        Trans- Acct
Date           Date         action     Type    Description                       Symbol/Cusip                   Quantity   Price       Debit Amount       Credit Amount

05/02/2023   05/02/2023     Journal   Cash     CONTRA GLOBAL TECH IND            379CNÝ                           11.000

                                               SPINOFF


Total Investment Activity                                                                                                                         $0.00           $0.00

Miscellaneous Activity
                                                       Account
Date                         Transaction               Type      Description           Symbol/Cusip                                Debit Amount           Credit Amount
05/02/2023                   Journal                   Cash      FPL REVENUE                                                                                       33.90


Total Miscellaneous                                                                                                                             $0.00             $33.90
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 33 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 34 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    May 31 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             June 30 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      May 31 2023




                                                                       #       000116077                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening         Closing




Long Market Value                         99.47    Opening Balance                                           248.29         Cash                             248.29          273.72

Short Market Value                         0.00    Securities Sold                                              0.00

Total Value of Securities                $99.47    Funds Deposited                                              0.00


                                                   Money Fund Purchase                                          0.00        Net Cash Balance                $248.29         $273.72
Cash Balance                             273.72    Dividends/Interest                                           0.00

Short Cash Balance                         0.00    Miscellaneous                                              25.43


                                                   Amount Credited                                           $25.43         Net Cash                        $248.29         $273.72
Net Cash Balance                        $273.72                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                            0.00

Net Equity                              $373.19    Funds Withdrawn                                              0.00


                                                   Money Fund Redemption                                        0.00

Net Equity Last Statement               $366.46    Dividends/Interest Charged                                   0.00


                                                   Miscellaneous                                                0.00

Change Since Last Statement               $6.73    Amount Debited                                             $0.00
                                                   Net Cash Activity                                         $25.43
                                                   Closing Balance                                         $273.72




                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 35 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     May 31 2023
                                     June 30 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                         Page   2   of   4




                                                                                          Plantation, FL 33324


Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                                Market
Description                                                                                                                                                                              Value

Cash Balance                                                                                                                                                                               273.72

Total Cash and Cash Equivalents                                                                                                                                                          $273.72

Equities                                                                                              Account                                                                            Market
GLOBAL TECH INDS GROUP INC                                GTII                                         Cash               110.000                        0.820000                            90.20
CONTRA GLOBAL TECH IND                                    379CNÝ                                       Cash                11.000                        0.000000                              0.00
NEXT BRIDGE HYDROCARBONS                                  59199&                                       Cash            9,269.000                         0.001000                              9.27



Total Equities and Options                                                                                                                                                                  $99.47
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                    $99.47

Fully Paid Lending Position Detail                                                                                                                                                       Accrued
Description                                               Symbol/Cusip                                                                                                                   Interest
GLOBAL TECH INDS GROUP INC                                GTII                                                                                                                                0.00
NEXT BRIDGE HYDROCARBONS                                  59199&                                                                                                                             14.70

Total Accrued Interest                                                                                                                                                                       14.70


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date


of this statement. You may sell shares being loaned at any time.   Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of


the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 36 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 May 31 2023
                                 June 30 2023
                                 11583081
                                                                    T TradeStation®
                                                                        8050 SW10th Street, Suite 2000
                                                                                                         Page   3   of   4




                                                                        Plantation, FL 33324
Transaction Detail
Miscellaneous Activity
                                                Account
Date                   Transaction              Type      Description           Symbol/Cusip                    Debit Amount         Credit Amount
06/02/2023             Journal                  Cash      FPL REVENUE                                                                        25.43


Total Miscellaneous                                                                                                          $0.00          $25.43
                                                Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 37 of 88



Please       notify    your     account          executive          or    representative,              or    the    Methods of Computing Interest on Debit Balances:                                                                         Financial Statement:                A financial statement of our firm is available

director     of    brokerage client             service or        chief compliance                   office, in     Interest is charged on a day-by-day basis for any day that there is                                                      for your personal inspection at our office, or a copy will be mailed to

writing of any material changes in your financial circumstances or                                                  a    net     debit      balance        in     your       overall   account.           The        calculation        is   you upon written request.

investment objectives. Remember, you have represented that your                                                     made         on     a    365-day        basis        at    the    rate      or     rates      shown          on    the

objectives are to seek short-term trading profits by actively trading                                               statement. Interest rates                     may        be   changed            from time to           time with        Custody:      Whether we are your broker or act as a clearing agent

using highly speculative methods.                                                                                   fluctuating money market rates or for other reasons.                                                                     for your broker, we carry your account and act as your custodian

                                                                                                                                                                                                                                             for   funds   and    securities,        once      received      by   us,    which       have   been

                                                                                                                    Customer free credit balances may be used in this firm's business                                                        deposited directly with us by you, through your broker or otherwise

GUIDE TO YOUR STATEMENT                                                                                             subject        to   the       limitation      of    17CFR        Section          240.15c3-3           under       the   or as a result of transactions we process for your account. Inquiries

Your statement may contain the following sections:                                                                  Securities          Exchange            Act    of    1934.       You        have     the    right      to   receive      concerning        the    positions      and       balances      in   your   account        may    be

                                                                                                                    from us in the course of normal business operation, upon demand,                                                         directed     to   our   Client      Services       Department        at    (954)    652-7920      or

Your Portfolio at a Glance:                          Reflects          the         net   equity       of    your    the delivery of:                                                                                                         (800) 871-3577. If your account is introduced by another broker, all

account at the close of the statement period, the net equity of your                                                                                                                                                                         other    inquiries      regarding       your       account      and       the   activity      therein

last   statement       and     any    change         since the           last statement.              Figures       a) any free credit balances to which you are entitled                                                                    should be directed to such broker.

shown        for    Long      and    Short       Market        Value          of    Securities        contain       b) any fully-paid securities to which you are entitled

netted values. A more comprehensive breakout of market values is                                                    c) any securities purchased on margin upon                                                                               Reportable to the Internal Revenue Service:                               As required by law,

reflected within the body of the statement.                                                                                 full payment of any indebtedness to us                                                                           at    year   end,   we       will   report   to   you    and    to   the    Internal     Revenue

                                                                                                                                                                                                                                             Service,      and       to    certain    states,        certain      information         on    sales

Transaction Summary and Cash Balance Summary:                                                    Both show          If this is a margin account and we maintain a special memorandum                                                         (including short sales), dividends, and various types of interest that

your opening and closing balances. Transaction Summary reflects                                                     account         for     you,     this    is    a    combined           statement            of   your       general      have been credited to your account.

the categories of cash activity. Cash and Cash Equivalent Balance                                                   account         and       special       memorandum                 account           maintained             for   you

Summary            reflects   the    cash        balances         by     account          type.      Opening        under        Section          220.6     of     Regulation           T       issued       by      the    Board       of   Statement Frequency:                   Statements        will   be    mailed       to   customers

Balance       is     the   credit     or    debit     carried          over        from       the    previous       Governors of the Federal Reserve System. The permanent record                                                            who have transaction during the statement period affecting money

period's closing balance. Closing balance is the combination of the                                                 of this separate account, as required by Regulation T, is available                                                      balances and/or security positions. All other accounts will be sent

total debits and           credits for the statement period                             together with the           for your inspection.                                                                                                     statements at least four times during a calendar year provided that

opening       cash     balance.       A    debit     balance           (money            you   owe      us)    is                                                                                                                            the account contains a money or security balance.

indicated by a minus sign in these sections.                                                                        For Option Accounts:                               Further        information            with         respect       to

                                                                                                                    commissions and                  other charges related                      to the execution                of listed    Please promptly notify the office servicing your account in
Retirement Account Summary:                                    Reflects             the       contributions         options        transactions           has      been       included          on    confirmations             of such      writing of any change of address. The office servicing your
received and distributions paid during this statement period as well                                                transactions previously furnished to you and such information will                                                       account can be found on page 1.
as for the previous year.                                                                                           be made available to you promptly upon written request.

                                                                                                                                                                                                                                             Please prominently include your account number(s) in all
Your Portfolio Holdings:                   Reflects cash and all securities in your                                 Use of Investment Advisors:                               If you have an agreement with an
                                                                                                                                                                                                                                             correspondence.
account.      Accrued         interest      represents         interest            earned      but    not    yet    investment or trading advisor or manager (an "investment advisor")

paid    or    collected       on     the   fixed     income         securities            since       the   last    whom         you        have     engaged            to    invest       and       trade      your       funds      and
                                                                                                                                                                                                                                             Each customer's securities account held at TradeStation
coupon date. There is no guarantee that this interest will be paid by                                               assets         on    your      behalf,      and      whom         you       have     authorized             to   trade
                                                                                                                                                                                                                                             Securities, Inc. is insured up to the amount of total net equity
the    issuer.      Current     yield      is    calculated       by      dividing         the      estimated       your account with TradeStation Securities, you represent, warrant,
                                                                                                                                                                                                                                             representing a loss of both securities and/or cash up to
annual       income        by       the    market        value           of    the       securities         and     acknowledge and agree that: (a) as between you and TradeStation
                                                                                                                                                                                                                                             $25,000,000 per account. The first $500,000 of protection,
represents an estimated current yield only.                                                                         Securities, solely               you are           fully responsible              for all   acts, omissions
                                                                                                                                                                                                                                             which includes up to $250,000 of protection for cash, is
                                                                                                                    and     decisions             made     by     your       investment          advisor        with       respect      to
                                                                                                                                                                                                                                             provided by SIPC (Securities Investor Protection Corporation)
Market Prices/Bond Ratings                                                                                          your       account,           and     you     shall      fully    indemnify          and      hold      harmless
                                                                                                                                                                                                                                             and the balance is provided by a separate excess SIPC bond
The market value of your holdings are as of the last business day                                                   TradeStation             Securities, and              its affiliates, employees and                         agents,
                                                                                                                                                                                                                                             issued by Lloyd's of London covering accounts maintained at
of    the    statement        period.      Prices        for   determining                market       values       from and            against      any    and        all claims,      damages,             liabilities, losses,
                                                                                                                                                                                                                                             TradeStation Securities, Inc., up to an additional $24,500,000
represent          estimates.      These         estimates        are     obtained            from    multiple      costs        and      expenses          (including            reasonable            attorneys'          fees      and
                                                                                                                                                                                                                                             per account, subject to a firm-wide maximum protection limit
sources,       including        outside         services.       Pricing            estimates         may      be    costs) that arise from, or relate to, any of such acts, omissions or
                                                                                                                                                                                                                                             of $300,000,000. Repurchase agreements, reverse repurchase
                                                                                                                                                                                                                                             and stock loan transactions, as well as certain mutual funds,
based on bids, prices within the bid/offer spread, closing prices or                                                decisions, including, but not limited to, claims, damages, liabilities,


                                                                                                                                                                                                                                             may not be covered by the excess SIPC bond.
matrix       methodology           that    uses      data      relating            to    other      securities      losses,        costs      or    expenses            assertible         or   suffered        by    you       or    your

whose        prices    are    more        ascertainable           to     produce          a    hypothetical         trading account, and claims which others may assert by or through

                                                                                                                    you     or     on    your       behalf,       or    on    their    own       behalves;           and     (b)      your
price based on the estimated yield spread relationship between the
                                                                                                                    investment              advisor       has      given        us     instructions,            which        may       be
                                                                                                                                                                                                                                             Please promptly report customer complaints or any
                                                                                                                                                                                                                                             inaccuracy in your account statement to TradeStation╞s Client
securities.         Pricing     estimates           do      not     constitute             bids      for    any
                                                                                                                    changed by your investment advisor from time to time, concerning
                                                                                                                                                                                                                                             Service Department at (800)871-3577 (in the USA) or
securities. Actual prices realized at sale may be more or less than
                                                                                                                    amounts that are to be withdrawn from your account(s) and paid to
                                                                                                                                                                                                                                             (954)652-7920 (outside of the USA). Also, confirm any verbal
those       shown on       your      statement.        Bond         ratings         are    received         from

outside sources. While we believe our sources for market values                                                     your investment advisor (or your investment advisor's account with

and     bond        ratings     to    be        reliable,      we      cannot            guarantee          their   us)     as     and      for   your    investment            advisor's         fees,      charges         or      costs   communication in writing.
accuracy.                                                                                                           payable by you pursuant to your agreement with your investment

                                                                                                                    advisor,        and      TradeStation              Securities      is authorized              by      you    to   rely

Transaction Detail:             Reflects all transactions settling or processed                                     fully   and       completely           upon        your    investment              advisor's          instructions

for your account this statement period.                                                                             with no obligation or responsibility to verify the authenticity, validity

                                                                                                                    or    accuracy           of     such     instructions            either      with     you        or    any       other

Trades Executed But Not Yet Settled: This section will reflect any                                                  person         or   entity,      or   any      document           or    other       material       or    potential

trades not yet settled by the statement closing date. The settlement                                                source of such information.

date is indicated in the first column.
                                                                                                                    Bearer Bonds:                  If any securities              held by        us for      your account              are

IMPORTANT NOTES                                                                                                     bearer         obligations          which      have       been     issued          since      December             31,

Dividend Income: Dividends credited to your account may include                                                     1982 with original maturities of more than one year, we agree that

capital      gains,    non-taxable          dividends          and/or         dividends          on    foreign      we will satisfy the conditions set forth in subdivisions (i), (ii) and (iii)

stock. You may wish to consult your tax advisor with regard to your                                                 of Treasury Regulation Section 1.165-12 (c) (3) and covenant that

tax liability on these dividend credits                                                                             we      will    comply          with    the        requirements              of    Treasury           Regulation

                                                                                                                    Section 1.165-12 (c) (1) (iii) concerning the delivery of such bearer

                                                                                                                    obligations.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 38 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    June 30 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             July 31 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      June 30 2023




                                                                       #       000088451                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening         Closing

Long Market Value                        300.07    Opening Balance                                           273.72         Cash                             273.72          89.34
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $300.07    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $273.72         $89.34
Cash Balance                              89.34    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              14.70
                                                   Amount Credited                                           $14.70         Net Cash                        $273.72         $89.34
Net Cash Balance                         $89.34                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                        -199.08
Net Equity                              $389.41    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $373.19    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                               0.00
Change Since Last Statement              $16.22    Amount Debited                                         -$199.08
                                                   Net Cash Activity                                      -$184.38
                                                   Closing Balance                                           $89.34



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 39 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     June 30 2023
                                     July 31 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                               89.34

Total Cash and Cash Equivalents                                                                                                                                                          $89.34

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.868045                          290.80
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $300.07
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $300.07

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          15.19

Total Accrued Interest                                                                                                                                                                     15.19


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                             Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 40 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                       June 30 2023
                                       July 31 2023
                                       11583081
                                                                          T TradeStation®
                                                                              8050 SW10th Street, Suite 2000
                                                                                                                           Page 3 of 5

                                                                              Plantation, FL 33324

Transaction Detail
Investment Activity
Settlement     Trade        Trans- Acct
Date           Date         action     Type   Description                       Symbol/Cusip                   Quantity    Price      Debit Amount    Credit Amount

07/27/2023   07/25/2023 Bought Cash           GLOBAL TECH INDS GROUP INC        GTII                             225.000   $0.885           -199.08
                                              COM
Total Investment Activity                                                                                                                  -$199.08           $0.00

Miscellaneous Activity
                                                      Account
Date                         Transaction              Type      Description            Symbol/Cusip                                 Debit Amount      Credit Amount
07/05/2023                   Journal                  Cash      FPL REVENUE                                                                                    14.70
Total Miscellaneous                                                                                                                        $0.00              $14.70
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 41 of 88



Please notify your account executive or representative, a director of     Transaction Detail: Reflects all transactions settling or processed (including reasonable attorneys' fees and costs) that arise from, or
brokerage Client Services or the chief compliance officer, in writing,    for your account this statement period.                                  relate to, any of such acts, omissions or decisions, including, but not
of any material changes in your financial circumstances or investment                                                                              limited to, claims, damages, liabilities, losses, costs or expenses
                                                                          Trades Executed But Not Yet Settled: This section will reflect any
objectives. Remember, you have represented that you are a                 trades not yet settled by the statement closing date. The settlement     assertible or suffered by you or your trading account, and claims
self-directed trader, and, and thus you are responsible for all trading   date is indicated in the first column.                                   which others may assert by or through you or on your behalf, or on
decisions in your account. If your objectives include seeking                                                                                      their own behalves; and (b) your investment advisor has given us
short-term trading profits by actively trading using highly speculative   IMPORTANT NOTES                                                          instructions, which may be changed by your investment advisor from
methods, you may carry a higher degree of risk.                           Dividend Income: Dividends credited to your account may include          time to time, concerning amounts that are to be withdrawn from your
                                                                                                                                                   account(s) and paid to your investment advisor (or your investment
GUIDE TO YOUR STATEMENT                                                   capital gains, non-taxable dividends and/or dividends on foreign
                                                                                                                                                   advisor's account with us) as and for your investment advisor's fees,
Your statement may contain the following sections:                        stock. You may wish to consult your tax advisor with regard to your
                                                                          tax liability on these dividend credits.                                 charges or costs payable by you pursuant to your agreement with
Your Portfolio at a Glance: Reflects the net equity of your account                                                                                your investment advisor, and TradeStation Securities is authorized by
at the close of the statement period, the net equity of your last         Methods of Computing Interest on Debit Balances: Interest is             you to rely fully and completely upon your investment advisor's
statement and any change since the last statement. Figures shown          charged on a day-by-day basis for any day that there is a net debit      instructions with no obligation or responsibility to verify the
for Long and Short Market Value of Securities contain netted values.      balance in your overall account. The calculation is made on a 365-day    authenticity, validity or accuracy of such instructions either with you
A more comprehensive breakout of market values is reflected within        basis at the rate or rates shown on the statement. Interest rates may    or any other person or entity, or any document or other material or
the body of the statement.                                                be changed from time to time with fluctuating money market rates or      potential source of such information.
                                                                          for other reasons.
Transaction Summary and Cash Balance Summary: Both show                                                                                            Bearer Bonds: If any securities held by us for your account are
your opening and closing balances. Transaction Summary reflects           Customer free credit balances may be used in this firm's business        bearer obligations which have been issued since December 31, 1982
the categories of cash activity. Cash and Cash Equivalent Balance         subject to the limitation of 17CFR Section 240.15c3-3 under the          with original maturities of more than one year, we agree that we will
Summary reflects the cash balances by account type. Opening               Securities Exchange Act of 1934. You have the right to receive from      satisfy the conditions set forth in subdivisions (i), (ii) and (iii) of
Balance is the credit or debit carried over from the previous period's    us in the course of normal business operation, upon demand, the          Treasury Regulation Section 1.165-12 (c) (3) and covenant that we
closing balance. Closing balance is the combination of the total debits   delivery of:                                                             will comply with the requirements of Treasury Regulation Section
and credits for the statement period together with the opening cash       a) any free credit balances to which you are entitled                    1.165-12 (c) (1) (iii) concerning the delivery of such bearer
balance. A debit balance (money you owe us) is indicated by a minus       b) any fully-paid securities to which you are entitled                   obligations.
sign in these sections.                                                   c) any securities purchased on margin upon full payment of any SECURITIES RISKS: It is agreed between you and TradeStation
Retirement Account Summary:               Reflects the contributions      indebtedness to us                                                      Securities, that you understand the risks that may apply to the
received and distributions paid during this statement period as well as   If this is a margin account and we maintain a special memorandum securities in which transactions are affected. Each security may have
for the previous year. Your Portfolio Holdings: Reflects cash and all     account for you, this is a combined statement of your general account its own special risks. Complex securities may not be appropriate for
securities in your account. Accrued interest represents interest          and special memorandum account maintained for you under Section most investors. With respect to effecting transactions in any of the
earned but not yet paid or collected on the fixed income securities       220.6 of Regulation T issued by the Board of Governors of the following types of securities, please carefully review the information
since the last coupon date. There is no guarantee that this interest      Federal Reserve System. The permanent record of this separate below, and review prospectuses if applicable. Prospectuses, if
will be paid by the issuer. Current yield is calculated by dividing the   account, as required by Regulation T, is available for your inspection. applicable, will be sent under a separate cover.
estimated annual income by the market value of the securities and
represents an estimated current yield only.                               For Option Accounts:            Further information with respect to      ETPs: Exchange-traded products (ETPs) are types of securities that
                                                                          commissions and other charges related to the execution of listed         track underlying security, index, or financial instruments. ETP╞s
Market Prices/Bond Ratings: The market value of your holdings             options transactions has been included on confirmations of such          include exchange-traded funds (ETFs) and exchange-traded notes
are as of the last business day of the statement period. Prices for       transactions previously furnished to you and such information will be    (ETNs). Here are some of the risks of these securities:
determining market values represent estimates. These estimates are        made available to you promptly upon written request.                       • ETPs are subject to market volatility and the risks of their
obtained from multiple sources, including outside services. Pricing       Use of Investment Advisors: If you have an agreement with an                  underlying investments and/or strategies.
estimates may be based on bids, prices within the bid/offer spread,       investment or trading advisor or manager (an "investment advisor")
closing prices or matrix methodology that uses data relating to other     whom you have engaged to invest and trade your funds and assets            • ETPs are subject to management fees and other expenses that
securities whose prices are more ascertainable to produce a               on your behalf, and whom you have authorized to trade your account            reduce performance.
hypothetical price based on the estimated yield spread relationship       with TradeStation Securities, you represent, warrant, acknowledge          • Complex ETPs, including commodity ETPs and ETNs, that
between the securities. Pricing estimates do not constitute bids for      and agree that: (a) as between you and TradeStation Securities,               offer leveraged or inverse exposure, may not behave the way
any securities. Actual prices realized at sale may be more or less        solely you are fully responsible for all acts, omissions and decisions        most investors expect.
than those shown on your statement. Bond ratings are received from        made by your investment advisor with respect to your account, and
outside sources. While we believe our sources for market values and                                                                                  • ETPs have specific investment strategies, management fees
                                                                          you shall fully indemnify and hold harmless TradeStation Securities,
bond ratings to be reliable, we cannot guarantee their accuracy.          and its affiliates, employees and agents, from and against any and all        and expenses, which are detailed in an ETP╞s prospectus or
                                                                                                                                                        other offering material.
                                                                          claims, damages, liabilities, losses, costs and expenses
                               Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 42 of 88



  • Leveraged and inverse ETPs are intended to be held no longer            Financial Statement: A financial statement of our firm is available other accounts will be sent statements at least four times during a
     than one trading session. Due to the effects of compounding            for your personal inspection at our office, or a copy will be mailed to calendar year provided that the account contains a money or security
     and the fact that they are reset daily, their performance over         you upon written request.                                               balance.
     longer periods of time can differ significantly from their stated      Custody                                                               Each customer's securities account held at TradeStation
     daily objective. As such, these may be unsuitable for retail                                                                                 Securities is insured up to the amount of total net equity
     investors who plan to hold them for longer than one trading            Retail Accounts: TradeStation Securities carries your account and
                                                                            acts as your custodian for funds and securities, once received by us, representing a loss of both securities and/or cash up to
     session.                                                                                                                                     $25,000,000 per account. The first $500,000 of protection, which
                                                                            which have been deposited directly with us by you.
  • Some ETPs may be asset backed, debt or callable securities.                                                                                   includes up to $250,000 of protection for cash, is provided by
     Please review additional risks below.                                  Institutional Accounts: TradeStation Securities clears institutional the Securities Investor Protection Corporation (SIPC) and the
                                                                            account trades or provides order execution services on Delivery balance is provided by a separate excess SIPC bond issued by
Asset Backed Securities: Debt securities that are considered                Versus Payment /Receipt Versus Payment (“DVP/RVP”) basis. Lloyd's of London covering accounts maintained at
asset-backed securities represent an interest in or are secured by a        Trades in these accounts may be cleared and settled by another TradeStation Securities, up to an additional $24,500,000 per
pool of receivables or other financial assets that are continuously         broker. Any inquiries regarding your account and the activity therein account, subject to a $900,000 per account maximum for cash
subject to prepayment. The actual yield of such asset-backed                should be directed to TradeStation Securities and the broker and a firm-wide maximum protection limit of $300,000,000.
security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid. Information
                                                                            servicing your account.                                               Repurchase agreements, reverse repurchase and stock loan
concerning the factors that affect yield (including at a minimum            DVP/RVP Accounts: Quarterly account statements for DVP/RVP transactions, as well as certain mutual funds, may not be
estimated yield, weighted average life, and the prepayment                  Accounts may be suspended provided that the account is (a) carried covered by the excess SIPC bond.
assumptions underlying yield) will be furnished upon written request.       solely for the purpose of execution on a DVP/RVP basis in conformity
                                                                            with applicable rules and regulations; (b) every transaction effected
Debt and Callable Securities: Any security, such as a bond,                 for the account is done on a DVP/RVP basis in conformity with
municipal bond, debenture, note, certain ETNs, or any other similar         FINRA Rule 11860; (c) the account does not show security or money
instrument which evidences a liability of the issuer (including any         positions at the end of the quarter; and (d) the customer consents to
such security that is convertible into stock or a similar security) and     the suspension of such statements in writing. TradeStation Securities
fractional or participation interests in one or more of any of the          will provide any particular statement or statements to the customer
foregoing. Transactions in these securities may be subject to call or       promptly upon written request; and promptly reinstate the delivery of
redemption risks. Securities issued with an embedded call provision         such statements to the customer upon written request.
allow the issuer to repurchase or redeem the security up to a
specified date. These securities may be redeemed or repurchased in          Please promptly notify the office servicing your account, in
whole or in part prior to maturity and are subject to certain conditions.   writing, of any change of account information, including
Redemption and call provisions may affect the yields represented.           addresses and contact information. The office servicing your
Early redemption could affect the securities╞ yields. Maturity dates        account can be found on page 1.
may be extended by the issuer thereof, with a variable interest rate.       Please prominently include your account number(s) in all
Mutual Funds: For front-end load mutual funds, you may be eligible          correspondence.
for breakpoint discounts based on the size of your purchase, current        Inquiries concerning your account may be directed to our Client
holdings or future purchases. The sales charge you paid may differ          Services Department at (954) 652-7920 or (800) 871-3577.
slightly from the Prospectus disclosed rate due to rounding                 Additionally, please promptly report any complaints and/or statement
calculations. Please refer to the Prospectus, Statement of Additional       inaccuracies or discrepancies to TradeStation╞s Client Services
Information or contact TradeStation Securities for further information.     Department at (800) 871-3577 (in the USA) or (954) 652-7920
Other Complex Products: Other securities such as warrants/rights,           (outside of the USA), as well as any other broker servicing your
preferred stocks, or SPACs may have unique characteristics and              account, if applicable. Also, confirm any verbal communication in
risks. If you would like additional information on a security that may be   writing.
complex, please contact TradeStation Securities for information.            Reportable to the Internal Revenue Service: As required by law,
Please review TradeStation╞s “Investment and Trading Disclosures            at year end, we will report to you and to the Internal Revenue Service,
Booklet - Equities & Options” which can be found here:                      and to certain states, certain information on sales (including short
https://www.tradestation.com/important-information/ for information.        sales), dividends, and various types of interest that have been
Additional information is available and can be provided for any             credited to your account.
security upon request to TradeStation Securities.                           Statement Frequency: Statements will be mailed to customers who
                                                                            have any transaction during the statement period affecting money
                                                                            balances and/or security positions. All
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 43 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    August 31 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             September 29 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      August 31 2023




                                                                       #       000112505                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening              Closing

Long Market Value                        277.27    Opening Balance                                           104.53         Cash                             104.53               109.72
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $277.27    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $104.53              $109.72
Cash Balance                             109.72    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              15.19
                                                   Amount Credited                                           $15.19         Net Cash                        $104.53              $109.72
Net Cash Balance                        $109.72                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $386.99    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $324.85    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement              $62.14    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $5.19
                                                   Closing Balance                                         $109.72



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 44 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     August 31 2023
                                     September 29 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             109.72

Total Cash and Cash Equivalents                                                                                                                                                         $109.72

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.800000                          268.00
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $277.27
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $277.27

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.28
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          14.70

Total Accrued Interest                                                                                                                                                                     14.98


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 45 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 August 31 2023
                                 September 29 2023
                                 11583081
                                                                    T TradeStation®
                                                                               8050 SW10th Street, Suite 2000
                                                                                                                Page 3 of 5

                                                                               Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                 Debit Amount       Credit Amount
09/05/2023             Journal               Cash      FPL REVENUE                                                                              15.19
09/11/2023             Journal               Cash      Monthly Inactivity Fee Septemb                                          -10.00
Total Miscellaneous                                                                                                           -$10.00          $15.19
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 46 of 88



Please notify your account executive or representative, a director of     Transaction Detail: Reflects all transactions settling or processed (including reasonable attorneys' fees and costs) that arise from, or
brokerage Client Services or the chief compliance officer, in writing,    for your account this statement period.                                  relate to, any of such acts, omissions or decisions, including, but not
of any material changes in your financial circumstances or investment                                                                              limited to, claims, damages, liabilities, losses, costs or expenses
                                                                          Trades Executed But Not Yet Settled: This section will reflect any
objectives. Remember, you have represented that you are a                 trades not yet settled by the statement closing date. The settlement     assertible or suffered by you or your trading account, and claims
self-directed trader, and, and thus you are responsible for all trading   date is indicated in the first column.                                   which others may assert by or through you or on your behalf, or on
decisions in your account. If your objectives include seeking                                                                                      their own behalves; and (b) your investment advisor has given us
short-term trading profits by actively trading using highly speculative   IMPORTANT NOTES                                                          instructions, which may be changed by your investment advisor from
methods, you may carry a higher degree of risk.                           Dividend Income: Dividends credited to your account may include          time to time, concerning amounts that are to be withdrawn from your
                                                                                                                                                   account(s) and paid to your investment advisor (or your investment
GUIDE TO YOUR STATEMENT                                                   capital gains, non-taxable dividends and/or dividends on foreign
                                                                                                                                                   advisor's account with us) as and for your investment advisor's fees,
Your statement may contain the following sections:                        stock. You may wish to consult your tax advisor with regard to your
                                                                          tax liability on these dividend credits.                                 charges or costs payable by you pursuant to your agreement with
Your Portfolio at a Glance: Reflects the net equity of your account                                                                                your investment advisor, and TradeStation Securities is authorized by
at the close of the statement period, the net equity of your last         Methods of Computing Interest on Debit Balances: Interest is             you to rely fully and completely upon your investment advisor's
statement and any change since the last statement. Figures shown          charged on a day-by-day basis for any day that there is a net debit      instructions with no obligation or responsibility to verify the
for Long and Short Market Value of Securities contain netted values.      balance in your overall account. The calculation is made on a 365-day    authenticity, validity or accuracy of such instructions either with you
A more comprehensive breakout of market values is reflected within        basis at the rate or rates shown on the statement. Interest rates may    or any other person or entity, or any document or other material or
the body of the statement.                                                be changed from time to time with fluctuating money market rates or      potential source of such information.
                                                                          for other reasons.
Transaction Summary and Cash Balance Summary: Both show                                                                                            Bearer Bonds: If any securities held by us for your account are
your opening and closing balances. Transaction Summary reflects           Customer free credit balances may be used in this firm's business        bearer obligations which have been issued since December 31, 1982
the categories of cash activity. Cash and Cash Equivalent Balance         subject to the limitation of 17CFR Section 240.15c3-3 under the          with original maturities of more than one year, we agree that we will
Summary reflects the cash balances by account type. Opening               Securities Exchange Act of 1934. You have the right to receive from      satisfy the conditions set forth in subdivisions (i), (ii) and (iii) of
Balance is the credit or debit carried over from the previous period's    us in the course of normal business operation, upon demand, the          Treasury Regulation Section 1.165-12 (c) (3) and covenant that we
closing balance. Closing balance is the combination of the total debits   delivery of:                                                             will comply with the requirements of Treasury Regulation Section
and credits for the statement period together with the opening cash       a) any free credit balances to which you are entitled                    1.165-12 (c) (1) (iii) concerning the delivery of such bearer
balance. A debit balance (money you owe us) is indicated by a minus       b) any fully-paid securities to which you are entitled                   obligations.
sign in these sections.                                                   c) any securities purchased on margin upon full payment of any SECURITIES RISKS: It is agreed between you and TradeStation
Retirement Account Summary:               Reflects the contributions      indebtedness to us                                                      Securities, that you understand the risks that may apply to the
received and distributions paid during this statement period as well as   If this is a margin account and we maintain a special memorandum securities in which transactions are affected. Each security may have
for the previous year. Your Portfolio Holdings: Reflects cash and all     account for you, this is a combined statement of your general account its own special risks. Complex securities may not be appropriate for
securities in your account. Accrued interest represents interest          and special memorandum account maintained for you under Section most investors. With respect to effecting transactions in any of the
earned but not yet paid or collected on the fixed income securities       220.6 of Regulation T issued by the Board of Governors of the following types of securities, please carefully review the information
since the last coupon date. There is no guarantee that this interest      Federal Reserve System. The permanent record of this separate below, and review prospectuses if applicable. Prospectuses, if
will be paid by the issuer. Current yield is calculated by dividing the   account, as required by Regulation T, is available for your inspection. applicable, will be sent under a separate cover.
estimated annual income by the market value of the securities and
represents an estimated current yield only.                               For Option Accounts:            Further information with respect to      ETPs: Exchange-traded products (ETPs) are types of securities that
                                                                          commissions and other charges related to the execution of listed         track underlying security, index, or financial instruments. ETP╞s
Market Prices/Bond Ratings: The market value of your holdings             options transactions has been included on confirmations of such          include exchange-traded funds (ETFs) and exchange-traded notes
are as of the last business day of the statement period. Prices for       transactions previously furnished to you and such information will be    (ETNs). Here are some of the risks of these securities:
determining market values represent estimates. These estimates are        made available to you promptly upon written request.                       • ETPs are subject to market volatility and the risks of their
obtained from multiple sources, including outside services. Pricing       Use of Investment Advisors: If you have an agreement with an                  underlying investments and/or strategies.
estimates may be based on bids, prices within the bid/offer spread,       investment or trading advisor or manager (an "investment advisor")
closing prices or matrix methodology that uses data relating to other     whom you have engaged to invest and trade your funds and assets            • ETPs are subject to management fees and other expenses that
securities whose prices are more ascertainable to produce a               on your behalf, and whom you have authorized to trade your account            reduce performance.
hypothetical price based on the estimated yield spread relationship       with TradeStation Securities, you represent, warrant, acknowledge          • Complex ETPs, including commodity ETPs and ETNs, that
between the securities. Pricing estimates do not constitute bids for      and agree that: (a) as between you and TradeStation Securities,               offer leveraged or inverse exposure, may not behave the way
any securities. Actual prices realized at sale may be more or less        solely you are fully responsible for all acts, omissions and decisions        most investors expect.
than those shown on your statement. Bond ratings are received from        made by your investment advisor with respect to your account, and
outside sources. While we believe our sources for market values and                                                                                  • ETPs have specific investment strategies, management fees
                                                                          you shall fully indemnify and hold harmless TradeStation Securities,
bond ratings to be reliable, we cannot guarantee their accuracy.          and its affiliates, employees and agents, from and against any and all        and expenses, which are detailed in an ETP╞s prospectus or
                                                                                                                                                        other offering material.
                                                                          claims, damages, liabilities, losses, costs and expenses
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  • Leveraged and inverse ETPs are intended to be held no longer            Financial Statement: A financial statement of our firm is available other accounts will be sent statements at least four times during a
     than one trading session. Due to the effects of compounding            for your personal inspection at our office, or a copy will be mailed to calendar year provided that the account contains a money or security
     and the fact that they are reset daily, their performance over         you upon written request.                                               balance.
     longer periods of time can differ significantly from their stated      Custody                                                               Each customer's securities account held at TradeStation
     daily objective. As such, these may be unsuitable for retail                                                                                 Securities is insured up to the amount of total net equity
     investors who plan to hold them for longer than one trading            Retail Accounts: TradeStation Securities carries your account and
                                                                            acts as your custodian for funds and securities, once received by us, representing a loss of both securities and/or cash up to
     session.                                                                                                                                     $25,000,000 per account. The first $500,000 of protection, which
                                                                            which have been deposited directly with us by you.
  • Some ETPs may be asset backed, debt or callable securities.                                                                                   includes up to $250,000 of protection for cash, is provided by
     Please review additional risks below.                                  Institutional Accounts: TradeStation Securities clears institutional the Securities Investor Protection Corporation (SIPC) and the
                                                                            account trades or provides order execution services on Delivery balance is provided by a separate excess SIPC bond issued by
Asset Backed Securities: Debt securities that are considered                Versus Payment /Receipt Versus Payment (“DVP/RVP”) basis. Lloyd's of London covering accounts maintained at
asset-backed securities represent an interest in or are secured by a        Trades in these accounts may be cleared and settled by another TradeStation Securities, up to an additional $24,500,000 per
pool of receivables or other financial assets that are continuously         broker. Any inquiries regarding your account and the activity therein account, subject to a $900,000 per account maximum for cash
subject to prepayment. The actual yield of such asset-backed                should be directed to TradeStation Securities and the broker and a firm-wide maximum protection limit of $300,000,000.
security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid. Information
                                                                            servicing your account.                                               Repurchase agreements, reverse repurchase and stock loan
concerning the factors that affect yield (including at a minimum            DVP/RVP Accounts: Quarterly account statements for DVP/RVP transactions, as well as certain mutual funds, may not be
estimated yield, weighted average life, and the prepayment                  Accounts may be suspended provided that the account is (a) carried covered by the excess SIPC bond.
assumptions underlying yield) will be furnished upon written request.       solely for the purpose of execution on a DVP/RVP basis in conformity
                                                                            with applicable rules and regulations; (b) every transaction effected
Debt and Callable Securities: Any security, such as a bond,                 for the account is done on a DVP/RVP basis in conformity with
municipal bond, debenture, note, certain ETNs, or any other similar         FINRA Rule 11860; (c) the account does not show security or money
instrument which evidences a liability of the issuer (including any         positions at the end of the quarter; and (d) the customer consents to
such security that is convertible into stock or a similar security) and     the suspension of such statements in writing. TradeStation Securities
fractional or participation interests in one or more of any of the          will provide any particular statement or statements to the customer
foregoing. Transactions in these securities may be subject to call or       promptly upon written request; and promptly reinstate the delivery of
redemption risks. Securities issued with an embedded call provision         such statements to the customer upon written request.
allow the issuer to repurchase or redeem the security up to a
specified date. These securities may be redeemed or repurchased in          Please promptly notify the office servicing your account, in
whole or in part prior to maturity and are subject to certain conditions.   writing, of any change of account information, including
Redemption and call provisions may affect the yields represented.           addresses and contact information. The office servicing your
Early redemption could affect the securities╞ yields. Maturity dates        account can be found on page 1.
may be extended by the issuer thereof, with a variable interest rate.       Please prominently include your account number(s) in all
Mutual Funds: For front-end load mutual funds, you may be eligible          correspondence.
for breakpoint discounts based on the size of your purchase, current        Inquiries concerning your account may be directed to our Client
holdings or future purchases. The sales charge you paid may differ          Services Department at (954) 652-7920 or (800) 871-3577.
slightly from the Prospectus disclosed rate due to rounding                 Additionally, please promptly report any complaints and/or statement
calculations. Please refer to the Prospectus, Statement of Additional       inaccuracies or discrepancies to TradeStation╞s Client Services
Information or contact TradeStation Securities for further information.     Department at (800) 871-3577 (in the USA) or (954) 652-7920
Other Complex Products: Other securities such as warrants/rights,           (outside of the USA), as well as any other broker servicing your
preferred stocks, or SPACs may have unique characteristics and              account, if applicable. Also, confirm any verbal communication in
risks. If you would like additional information on a security that may be   writing.
complex, please contact TradeStation Securities for information.            Reportable to the Internal Revenue Service: As required by law,
Please review TradeStation╞s “Investment and Trading Disclosures            at year end, we will report to you and to the Internal Revenue Service,
Booklet - Equities & Options” which can be found here:                      and to certain states, certain information on sales (including short
https://www.tradestation.com/important-information/ for information.        sales), dividends, and various types of interest that have been
Additional information is available and can be provided for any             credited to your account.
security upon request to TradeStation Securities.                           Statement Frequency: Statements will be mailed to customers who
                                                                            have any transaction during the statement period affecting money
                                                                            balances and/or security positions. All
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 48 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    September 29 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             October 31 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      September 29 2023




                                                                       #       000097169                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening              Closing

Long Market Value                        213.59    Opening Balance                                           109.72         Cash                             109.72               114.70
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $213.59    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $109.72              $114.70
Cash Balance                             114.70    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              14.98
                                                   Amount Credited                                           $14.98         Net Cash                        $109.72              $114.70
Net Cash Balance                        $114.70                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $328.29    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $386.99    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement             -$58.70    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $4.98
                                                   Closing Balance                                         $114.70



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 49 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     September 29 2023
                                     October 31 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             114.70

Total Cash and Cash Equivalents                                                                                                                                                         $114.70

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.609900                          204.32
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $213.59
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $213.59

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.34
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          15.19

Total Accrued Interest                                                                                                                                                                     15.53


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 50 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 September 29 2023
                                 October 31 2023
                                 11583081
                                                                    T TradeStation®
                                                                                8050 SW10th Street, Suite 2000
                                                                                                                 Page 3 of 5

                                                                                Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                  Debit Amount       Credit Amount
10/03/2023             Journal               Cash      FPL REVENUE                                                                               14.98
10/10/2023             Journal               Cash      Monthly Inactivity Fee October                                           -10.00
Total Miscellaneous                                                                                                            -$10.00          $14.98
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 51 of 88



Please notify your account executive or representative, a director of     Transaction Detail: Reflects all transactions settling or processed (including reasonable attorneys' fees and costs) that arise from, or
brokerage Client Services or the chief compliance officer, in writing,    for your account this statement period.                                  relate to, any of such acts, omissions or decisions, including, but not
of any material changes in your financial circumstances or investment                                                                              limited to, claims, damages, liabilities, losses, costs or expenses
                                                                          Trades Executed But Not Yet Settled: This section will reflect any
objectives. Remember, you have represented that you are a                 trades not yet settled by the statement closing date. The settlement     assertible or suffered by you or your trading account, and claims
self-directed trader, and, and thus you are responsible for all trading   date is indicated in the first column.                                   which others may assert by or through you or on your behalf, or on
decisions in your account. If your objectives include seeking                                                                                      their own behalves; and (b) your investment advisor has given us
short-term trading profits by actively trading using highly speculative   IMPORTANT NOTES                                                          instructions, which may be changed by your investment advisor from
methods, you may carry a higher degree of risk.                           Dividend Income: Dividends credited to your account may include          time to time, concerning amounts that are to be withdrawn from your
                                                                                                                                                   account(s) and paid to your investment advisor (or your investment
GUIDE TO YOUR STATEMENT                                                   capital gains, non-taxable dividends and/or dividends on foreign
                                                                                                                                                   advisor's account with us) as and for your investment advisor's fees,
Your statement may contain the following sections:                        stock. You may wish to consult your tax advisor with regard to your
                                                                          tax liability on these dividend credits.                                 charges or costs payable by you pursuant to your agreement with
Your Portfolio at a Glance: Reflects the net equity of your account                                                                                your investment advisor, and TradeStation Securities is authorized by
at the close of the statement period, the net equity of your last         Methods of Computing Interest on Debit Balances: Interest is             you to rely fully and completely upon your investment advisor's
statement and any change since the last statement. Figures shown          charged on a day-by-day basis for any day that there is a net debit      instructions with no obligation or responsibility to verify the
for Long and Short Market Value of Securities contain netted values.      balance in your overall account. The calculation is made on a 365-day    authenticity, validity or accuracy of such instructions either with you
A more comprehensive breakout of market values is reflected within        basis at the rate or rates shown on the statement. Interest rates may    or any other person or entity, or any document or other material or
the body of the statement.                                                be changed from time to time with fluctuating money market rates or      potential source of such information.
                                                                          for other reasons.
Transaction Summary and Cash Balance Summary: Both show                                                                                            Bearer Bonds: If any securities held by us for your account are
your opening and closing balances. Transaction Summary reflects           Customer free credit balances may be used in this firm's business        bearer obligations which have been issued since December 31, 1982
the categories of cash activity. Cash and Cash Equivalent Balance         subject to the limitation of 17CFR Section 240.15c3-3 under the          with original maturities of more than one year, we agree that we will
Summary reflects the cash balances by account type. Opening               Securities Exchange Act of 1934. You have the right to receive from      satisfy the conditions set forth in subdivisions (i), (ii) and (iii) of
Balance is the credit or debit carried over from the previous period's    us in the course of normal business operation, upon demand, the          Treasury Regulation Section 1.165-12 (c) (3) and covenant that we
closing balance. Closing balance is the combination of the total debits   delivery of:                                                             will comply with the requirements of Treasury Regulation Section
and credits for the statement period together with the opening cash       a) any free credit balances to which you are entitled                    1.165-12 (c) (1) (iii) concerning the delivery of such bearer
balance. A debit balance (money you owe us) is indicated by a minus       b) any fully-paid securities to which you are entitled                   obligations.
sign in these sections.                                                   c) any securities purchased on margin upon full payment of any SECURITIES RISKS: It is agreed between you and TradeStation
Retirement Account Summary:               Reflects the contributions      indebtedness to us                                                      Securities, that you understand the risks that may apply to the
received and distributions paid during this statement period as well as   If this is a margin account and we maintain a special memorandum securities in which transactions are affected. Each security may have
for the previous year. Your Portfolio Holdings: Reflects cash and all     account for you, this is a combined statement of your general account its own special risks. Complex securities may not be appropriate for
securities in your account. Accrued interest represents interest          and special memorandum account maintained for you under Section most investors. With respect to effecting transactions in any of the
earned but not yet paid or collected on the fixed income securities       220.6 of Regulation T issued by the Board of Governors of the following types of securities, please carefully review the information
since the last coupon date. There is no guarantee that this interest      Federal Reserve System. The permanent record of this separate below, and review prospectuses if applicable. Prospectuses, if
will be paid by the issuer. Current yield is calculated by dividing the   account, as required by Regulation T, is available for your inspection. applicable, will be sent under a separate cover.
estimated annual income by the market value of the securities and
represents an estimated current yield only.                               For Option Accounts:            Further information with respect to      ETPs: Exchange-traded products (ETPs) are types of securities that
                                                                          commissions and other charges related to the execution of listed         track underlying security, index, or financial instruments. ETP╞s
Market Prices/Bond Ratings: The market value of your holdings             options transactions has been included on confirmations of such          include exchange-traded funds (ETFs) and exchange-traded notes
are as of the last business day of the statement period. Prices for       transactions previously furnished to you and such information will be    (ETNs). Here are some of the risks of these securities:
determining market values represent estimates. These estimates are        made available to you promptly upon written request.                       • ETPs are subject to market volatility and the risks of their
obtained from multiple sources, including outside services. Pricing       Use of Investment Advisors: If you have an agreement with an                  underlying investments and/or strategies.
estimates may be based on bids, prices within the bid/offer spread,       investment or trading advisor or manager (an "investment advisor")
closing prices or matrix methodology that uses data relating to other     whom you have engaged to invest and trade your funds and assets            • ETPs are subject to management fees and other expenses that
securities whose prices are more ascertainable to produce a               on your behalf, and whom you have authorized to trade your account            reduce performance.
hypothetical price based on the estimated yield spread relationship       with TradeStation Securities, you represent, warrant, acknowledge          • Complex ETPs, including commodity ETPs and ETNs, that
between the securities. Pricing estimates do not constitute bids for      and agree that: (a) as between you and TradeStation Securities,               offer leveraged or inverse exposure, may not behave the way
any securities. Actual prices realized at sale may be more or less        solely you are fully responsible for all acts, omissions and decisions        most investors expect.
than those shown on your statement. Bond ratings are received from        made by your investment advisor with respect to your account, and
outside sources. While we believe our sources for market values and                                                                                  • ETPs have specific investment strategies, management fees
                                                                          you shall fully indemnify and hold harmless TradeStation Securities,
bond ratings to be reliable, we cannot guarantee their accuracy.          and its affiliates, employees and agents, from and against any and all        and expenses, which are detailed in an ETP╞s prospectus or
                                                                                                                                                        other offering material.
                                                                          claims, damages, liabilities, losses, costs and expenses
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  • Leveraged and inverse ETPs are intended to be held no longer            Financial Statement: A financial statement of our firm is available other accounts will be sent statements at least four times during a
     than one trading session. Due to the effects of compounding            for your personal inspection at our office, or a copy will be mailed to calendar year provided that the account contains a money or security
     and the fact that they are reset daily, their performance over         you upon written request.                                               balance.
     longer periods of time can differ significantly from their stated      Custody                                                               Each customer's securities account held at TradeStation
     daily objective. As such, these may be unsuitable for retail                                                                                 Securities is insured up to the amount of total net equity
     investors who plan to hold them for longer than one trading            Retail Accounts: TradeStation Securities carries your account and
                                                                            acts as your custodian for funds and securities, once received by us, representing a loss of both securities and/or cash up to
     session.                                                                                                                                     $25,000,000 per account. The first $500,000 of protection, which
                                                                            which have been deposited directly with us by you.
  • Some ETPs may be asset backed, debt or callable securities.                                                                                   includes up to $250,000 of protection for cash, is provided by
     Please review additional risks below.                                  Institutional Accounts: TradeStation Securities clears institutional the Securities Investor Protection Corporation (SIPC) and the
                                                                            account trades or provides order execution services on Delivery balance is provided by a separate excess SIPC bond issued by
Asset Backed Securities: Debt securities that are considered                Versus Payment /Receipt Versus Payment (“DVP/RVP”) basis. Lloyd's of London covering accounts maintained at
asset-backed securities represent an interest in or are secured by a        Trades in these accounts may be cleared and settled by another TradeStation Securities, up to an additional $24,500,000 per
pool of receivables or other financial assets that are continuously         broker. Any inquiries regarding your account and the activity therein account, subject to a $900,000 per account maximum for cash
subject to prepayment. The actual yield of such asset-backed                should be directed to TradeStation Securities and the broker and a firm-wide maximum protection limit of $300,000,000.
security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid. Information
                                                                            servicing your account.                                               Repurchase agreements, reverse repurchase and stock loan
concerning the factors that affect yield (including at a minimum            DVP/RVP Accounts: Quarterly account statements for DVP/RVP transactions, as well as certain mutual funds, may not be
estimated yield, weighted average life, and the prepayment                  Accounts may be suspended provided that the account is (a) carried covered by the excess SIPC bond.
assumptions underlying yield) will be furnished upon written request.       solely for the purpose of execution on a DVP/RVP basis in conformity
                                                                            with applicable rules and regulations; (b) every transaction effected
Debt and Callable Securities: Any security, such as a bond,                 for the account is done on a DVP/RVP basis in conformity with
municipal bond, debenture, note, certain ETNs, or any other similar         FINRA Rule 11860; (c) the account does not show security or money
instrument which evidences a liability of the issuer (including any         positions at the end of the quarter; and (d) the customer consents to
such security that is convertible into stock or a similar security) and     the suspension of such statements in writing. TradeStation Securities
fractional or participation interests in one or more of any of the          will provide any particular statement or statements to the customer
foregoing. Transactions in these securities may be subject to call or       promptly upon written request; and promptly reinstate the delivery of
redemption risks. Securities issued with an embedded call provision         such statements to the customer upon written request.
allow the issuer to repurchase or redeem the security up to a
specified date. These securities may be redeemed or repurchased in          Please promptly notify the office servicing your account, in
whole or in part prior to maturity and are subject to certain conditions.   writing, of any change of account information, including
Redemption and call provisions may affect the yields represented.           addresses and contact information. The office servicing your
Early redemption could affect the securities╞ yields. Maturity dates        account can be found on page 1.
may be extended by the issuer thereof, with a variable interest rate.       Please prominently include your account number(s) in all
Mutual Funds: For front-end load mutual funds, you may be eligible          correspondence.
for breakpoint discounts based on the size of your purchase, current        Inquiries concerning your account may be directed to our Client
holdings or future purchases. The sales charge you paid may differ          Services Department at (954) 652-7920 or (800) 871-3577.
slightly from the Prospectus disclosed rate due to rounding                 Additionally, please promptly report any complaints and/or statement
calculations. Please refer to the Prospectus, Statement of Additional       inaccuracies or discrepancies to TradeStation╞s Client Services
Information or contact TradeStation Securities for further information.     Department at (800) 871-3577 (in the USA) or (954) 652-7920
Other Complex Products: Other securities such as warrants/rights,           (outside of the USA), as well as any other broker servicing your
preferred stocks, or SPACs may have unique characteristics and              account, if applicable. Also, confirm any verbal communication in
risks. If you would like additional information on a security that may be   writing.
complex, please contact TradeStation Securities for information.            Reportable to the Internal Revenue Service: As required by law,
Please review TradeStation╞s “Investment and Trading Disclosures            at year end, we will report to you and to the Internal Revenue Service,
Booklet - Equities & Options” which can be found here:                      and to certain states, certain information on sales (including short
https://www.tradestation.com/important-information/ for information.        sales), dividends, and various types of interest that have been
Additional information is available and can be provided for any             credited to your account.
security upon request to TradeStation Securities.                           Statement Frequency: Statements will be mailed to customers who
                                                                            have any transaction during the statement period affecting money
                                                                            balances and/or security positions. All
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 53 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    October 31 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             November 30 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      October 31 2023




                                                                       #       000094998                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing

Long Market Value                        180.96    Opening Balance                                           114.70         Cash                             114.70              120.23
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $180.96    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $114.70             $120.23
Cash Balance                             120.23    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              15.53
                                                   Amount Credited                                           $15.53         Net Cash                        $114.70             $120.23
Net Cash Balance                        $120.23                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $301.19    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $328.29    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement             -$27.10    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $5.53
                                                   Closing Balance                                         $120.23



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 54 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     October 31 2023
                                     November 30 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             120.23

Total Cash and Cash Equivalents                                                                                                                                                         $120.23

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.512500                          171.69
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $180.96
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $180.96

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.60
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          14.70

Total Accrued Interest                                                                                                                                                                     15.30


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 55 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 October 31 2023
                                 November 30 2023
                                 11583081
                                                                    T TradeStation®
                                                                               8050 SW10th Street, Suite 2000
                                                                                                                Page 3 of 5

                                                                               Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                 Debit Amount       Credit Amount
11/02/2023             Journal               Cash      FPL REVENUE                                                                              15.53
11/10/2023             Journal               Cash      Monthly Inactivity Fee Novembe                                          -10.00
Total Miscellaneous                                                                                                           -$10.00          $15.53
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 56 of 88



Please notify your account executive or representative, a director of     Transaction Detail: Reflects all transactions settling or processed (including reasonable attorneys' fees and costs) that arise from, or
brokerage Client Services or the chief compliance officer, in writing,    for your account this statement period.                                  relate to, any of such acts, omissions or decisions, including, but not
of any material changes in your financial circumstances or investment                                                                              limited to, claims, damages, liabilities, losses, costs or expenses
                                                                          Trades Executed But Not Yet Settled: This section will reflect any
objectives. Remember, you have represented that you are a                 trades not yet settled by the statement closing date. The settlement     assertible or suffered by you or your trading account, and claims
self-directed trader, and, and thus you are responsible for all trading   date is indicated in the first column.                                   which others may assert by or through you or on your behalf, or on
decisions in your account. If your objectives include seeking                                                                                      their own behalves; and (b) your investment advisor has given us
short-term trading profits by actively trading using highly speculative   IMPORTANT NOTES                                                          instructions, which may be changed by your investment advisor from
methods, you may carry a higher degree of risk.                           Dividend Income: Dividends credited to your account may include          time to time, concerning amounts that are to be withdrawn from your
                                                                                                                                                   account(s) and paid to your investment advisor (or your investment
GUIDE TO YOUR STATEMENT                                                   capital gains, non-taxable dividends and/or dividends on foreign
                                                                                                                                                   advisor's account with us) as and for your investment advisor's fees,
Your statement may contain the following sections:                        stock. You may wish to consult your tax advisor with regard to your
                                                                          tax liability on these dividend credits.                                 charges or costs payable by you pursuant to your agreement with
Your Portfolio at a Glance: Reflects the net equity of your account                                                                                your investment advisor, and TradeStation Securities is authorized by
at the close of the statement period, the net equity of your last         Methods of Computing Interest on Debit Balances: Interest is             you to rely fully and completely upon your investment advisor's
statement and any change since the last statement. Figures shown          charged on a day-by-day basis for any day that there is a net debit      instructions with no obligation or responsibility to verify the
for Long and Short Market Value of Securities contain netted values.      balance in your overall account. The calculation is made on a 365-day    authenticity, validity or accuracy of such instructions either with you
A more comprehensive breakout of market values is reflected within        basis at the rate or rates shown on the statement. Interest rates may    or any other person or entity, or any document or other material or
the body of the statement.                                                be changed from time to time with fluctuating money market rates or      potential source of such information.
                                                                          for other reasons.
Transaction Summary and Cash Balance Summary: Both show                                                                                            Bearer Bonds: If any securities held by us for your account are
your opening and closing balances. Transaction Summary reflects           Customer free credit balances may be used in this firm's business        bearer obligations which have been issued since December 31, 1982
the categories of cash activity. Cash and Cash Equivalent Balance         subject to the limitation of 17CFR Section 240.15c3-3 under the          with original maturities of more than one year, we agree that we will
Summary reflects the cash balances by account type. Opening               Securities Exchange Act of 1934. You have the right to receive from      satisfy the conditions set forth in subdivisions (i), (ii) and (iii) of
Balance is the credit or debit carried over from the previous period's    us in the course of normal business operation, upon demand, the          Treasury Regulation Section 1.165-12 (c) (3) and covenant that we
closing balance. Closing balance is the combination of the total debits   delivery of:                                                             will comply with the requirements of Treasury Regulation Section
and credits for the statement period together with the opening cash       a) any free credit balances to which you are entitled                    1.165-12 (c) (1) (iii) concerning the delivery of such bearer
balance. A debit balance (money you owe us) is indicated by a minus       b) any fully-paid securities to which you are entitled                   obligations.
sign in these sections.                                                   c) any securities purchased on margin upon full payment of any SECURITIES RISKS: It is agreed between you and TradeStation
Retirement Account Summary:               Reflects the contributions      indebtedness to us                                                      Securities, that you understand the risks that may apply to the
received and distributions paid during this statement period as well as   If this is a margin account and we maintain a special memorandum securities in which transactions are affected. Each security may have
for the previous year. Your Portfolio Holdings: Reflects cash and all     account for you, this is a combined statement of your general account its own special risks. Complex securities may not be appropriate for
securities in your account. Accrued interest represents interest          and special memorandum account maintained for you under Section most investors. With respect to effecting transactions in any of the
earned but not yet paid or collected on the fixed income securities       220.6 of Regulation T issued by the Board of Governors of the following types of securities, please carefully review the information
since the last coupon date. There is no guarantee that this interest      Federal Reserve System. The permanent record of this separate below, and review prospectuses if applicable. Prospectuses, if
will be paid by the issuer. Current yield is calculated by dividing the   account, as required by Regulation T, is available for your inspection. applicable, will be sent under a separate cover.
estimated annual income by the market value of the securities and
represents an estimated current yield only.                               For Option Accounts:            Further information with respect to      ETPs: Exchange-traded products (ETPs) are types of securities that
                                                                          commissions and other charges related to the execution of listed         track underlying security, index, or financial instruments. ETP╞s
Market Prices/Bond Ratings: The market value of your holdings             options transactions has been included on confirmations of such          include exchange-traded funds (ETFs) and exchange-traded notes
are as of the last business day of the statement period. Prices for       transactions previously furnished to you and such information will be    (ETNs). Here are some of the risks of these securities:
determining market values represent estimates. These estimates are        made available to you promptly upon written request.                       • ETPs are subject to market volatility and the risks of their
obtained from multiple sources, including outside services. Pricing       Use of Investment Advisors: If you have an agreement with an                  underlying investments and/or strategies.
estimates may be based on bids, prices within the bid/offer spread,       investment or trading advisor or manager (an "investment advisor")
closing prices or matrix methodology that uses data relating to other     whom you have engaged to invest and trade your funds and assets            • ETPs are subject to management fees and other expenses that
securities whose prices are more ascertainable to produce a               on your behalf, and whom you have authorized to trade your account            reduce performance.
hypothetical price based on the estimated yield spread relationship       with TradeStation Securities, you represent, warrant, acknowledge          • Complex ETPs, including commodity ETPs and ETNs, that
between the securities. Pricing estimates do not constitute bids for      and agree that: (a) as between you and TradeStation Securities,               offer leveraged or inverse exposure, may not behave the way
any securities. Actual prices realized at sale may be more or less        solely you are fully responsible for all acts, omissions and decisions        most investors expect.
than those shown on your statement. Bond ratings are received from        made by your investment advisor with respect to your account, and
outside sources. While we believe our sources for market values and                                                                                  • ETPs have specific investment strategies, management fees
                                                                          you shall fully indemnify and hold harmless TradeStation Securities,
bond ratings to be reliable, we cannot guarantee their accuracy.          and its affiliates, employees and agents, from and against any and all        and expenses, which are detailed in an ETP╞s prospectus or
                                                                                                                                                        other offering material.
                                                                          claims, damages, liabilities, losses, costs and expenses
                               Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 57 of 88



  • Leveraged and inverse ETPs are intended to be held no longer            Financial Statement: A financial statement of our firm is available other accounts will be sent statements at least four times during a
     than one trading session. Due to the effects of compounding            for your personal inspection at our office, or a copy will be mailed to calendar year provided that the account contains a money or security
     and the fact that they are reset daily, their performance over         you upon written request.                                               balance.
     longer periods of time can differ significantly from their stated      Custody                                                               Each customer's securities account held at TradeStation
     daily objective. As such, these may be unsuitable for retail                                                                                 Securities is insured up to the amount of total net equity
     investors who plan to hold them for longer than one trading            Retail Accounts: TradeStation Securities carries your account and
                                                                            acts as your custodian for funds and securities, once received by us, representing a loss of both securities and/or cash up to
     session.                                                                                                                                     $25,000,000 per account. The first $500,000 of protection, which
                                                                            which have been deposited directly with us by you.
  • Some ETPs may be asset backed, debt or callable securities.                                                                                   includes up to $250,000 of protection for cash, is provided by
     Please review additional risks below.                                  Institutional Accounts: TradeStation Securities clears institutional the Securities Investor Protection Corporation (SIPC) and the
                                                                            account trades or provides order execution services on Delivery balance is provided by a separate excess SIPC bond issued by
Asset Backed Securities: Debt securities that are considered                Versus Payment /Receipt Versus Payment (“DVP/RVP”) basis. Lloyd's of London covering accounts maintained at
asset-backed securities represent an interest in or are secured by a        Trades in these accounts may be cleared and settled by another TradeStation Securities, up to an additional $24,500,000 per
pool of receivables or other financial assets that are continuously         broker. Any inquiries regarding your account and the activity therein account, subject to a $900,000 per account maximum for cash
subject to prepayment. The actual yield of such asset-backed                should be directed to TradeStation Securities and the broker and a firm-wide maximum protection limit of $300,000,000.
security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid. Information
                                                                            servicing your account.                                               Repurchase agreements, reverse repurchase and stock loan
concerning the factors that affect yield (including at a minimum            DVP/RVP Accounts: Quarterly account statements for DVP/RVP transactions, as well as certain mutual funds, may not be
estimated yield, weighted average life, and the prepayment                  Accounts may be suspended provided that the account is (a) carried covered by the excess SIPC bond.
assumptions underlying yield) will be furnished upon written request.       solely for the purpose of execution on a DVP/RVP basis in conformity
                                                                            with applicable rules and regulations; (b) every transaction effected
Debt and Callable Securities: Any security, such as a bond,                 for the account is done on a DVP/RVP basis in conformity with
municipal bond, debenture, note, certain ETNs, or any other similar         FINRA Rule 11860; (c) the account does not show security or money
instrument which evidences a liability of the issuer (including any         positions at the end of the quarter; and (d) the customer consents to
such security that is convertible into stock or a similar security) and     the suspension of such statements in writing. TradeStation Securities
fractional or participation interests in one or more of any of the          will provide any particular statement or statements to the customer
foregoing. Transactions in these securities may be subject to call or       promptly upon written request; and promptly reinstate the delivery of
redemption risks. Securities issued with an embedded call provision         such statements to the customer upon written request.
allow the issuer to repurchase or redeem the security up to a
specified date. These securities may be redeemed or repurchased in          Please promptly notify the office servicing your account, in
whole or in part prior to maturity and are subject to certain conditions.   writing, of any change of account information, including
Redemption and call provisions may affect the yields represented.           addresses and contact information. The office servicing your
Early redemption could affect the securities╞ yields. Maturity dates        account can be found on page 1.
may be extended by the issuer thereof, with a variable interest rate.       Please prominently include your account number(s) in all
Mutual Funds: For front-end load mutual funds, you may be eligible          correspondence.
for breakpoint discounts based on the size of your purchase, current        Inquiries concerning your account may be directed to our Client
holdings or future purchases. The sales charge you paid may differ          Services Department at (954) 652-7920 or (800) 871-3577.
slightly from the Prospectus disclosed rate due to rounding                 Additionally, please promptly report any complaints and/or statement
calculations. Please refer to the Prospectus, Statement of Additional       inaccuracies or discrepancies to TradeStation╞s Client Services
Information or contact TradeStation Securities for further information.     Department at (800) 871-3577 (in the USA) or (954) 652-7920
Other Complex Products: Other securities such as warrants/rights,           (outside of the USA), as well as any other broker servicing your
preferred stocks, or SPACs may have unique characteristics and              account, if applicable. Also, confirm any verbal communication in
risks. If you would like additional information on a security that may be   writing.
complex, please contact TradeStation Securities for information.            Reportable to the Internal Revenue Service: As required by law,
Please review TradeStation╞s “Investment and Trading Disclosures            at year end, we will report to you and to the Internal Revenue Service,
Booklet - Equities & Options” which can be found here:                      and to certain states, certain information on sales (including short
https://www.tradestation.com/important-information/ for information.        sales), dividends, and various types of interest that have been
Additional information is available and can be provided for any             credited to your account.
security upon request to TradeStation Securities.                           Statement Frequency: Statements will be mailed to customers who
                                                                            have any transaction during the statement period affecting money
                                                                            balances and/or security positions. All
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 58 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    November 30 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             December 29 2023
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      November 30 2023




                                                                       #       000103586                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing

Long Market Value                        143.24    Opening Balance                                           120.23         Cash                             120.23              125.53
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $143.24    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $120.23             $125.53
Cash Balance                             125.53    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              15.30
                                                   Amount Credited                                           $15.30         Net Cash                        $120.23             $125.53
Net Cash Balance                        $125.53                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $268.77    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $301.19    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement             -$32.42    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $5.30
                                                   Closing Balance                                         $125.53



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 59 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     November 30 2023
                                     December 29 2023
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             125.53

Total Cash and Cash Equivalents                                                                                                                                                         $125.53

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.399900                          133.97
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $143.24
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $143.24

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.36
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          15.19

Total Accrued Interest                                                                                                                                                                     15.55


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
                       Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 60 of 88
         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 November 30 2023
                                 December 29 2023
                                 11583081
                                                                    T TradeStation®
                                                                               8050 SW10th Street, Suite 2000
                                                                                                                Page 3 of 5

                                                                               Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                 Debit Amount       Credit Amount
12/04/2023             Journal               Cash      FPL REVENUE                                                                              15.30
12/15/2023             Journal               Cash      Monthly Inactivity Fee Decembe                                          -10.00
Total Miscellaneous                                                                                                           -$10.00          $15.30
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Please notify your account executive or representative, a director of     Transaction Detail: Reflects all transactions settling or processed (including reasonable attorneys' fees and costs) that arise from, or
brokerage Client Services or the chief compliance officer, in writing,    for your account this statement period.                                  relate to, any of such acts, omissions or decisions, including, but not
of any material changes in your financial circumstances or investment                                                                              limited to, claims, damages, liabilities, losses, costs or expenses
                                                                          Trades Executed But Not Yet Settled: This section will reflect any
objectives. Remember, you have represented that you are a                 trades not yet settled by the statement closing date. The settlement     assertible or suffered by you or your trading account, and claims
self-directed trader, and, and thus you are responsible for all trading   date is indicated in the first column.                                   which others may assert by or through you or on your behalf, or on
decisions in your account. If your objectives include seeking                                                                                      their own behalves; and (b) your investment advisor has given us
short-term trading profits by actively trading using highly speculative   IMPORTANT NOTES                                                          instructions, which may be changed by your investment advisor from
methods, you may carry a higher degree of risk.                           Dividend Income: Dividends credited to your account may include          time to time, concerning amounts that are to be withdrawn from your
                                                                                                                                                   account(s) and paid to your investment advisor (or your investment
GUIDE TO YOUR STATEMENT                                                   capital gains, non-taxable dividends and/or dividends on foreign
                                                                                                                                                   advisor's account with us) as and for your investment advisor's fees,
Your statement may contain the following sections:                        stock. You may wish to consult your tax advisor with regard to your
                                                                          tax liability on these dividend credits.                                 charges or costs payable by you pursuant to your agreement with
Your Portfolio at a Glance: Reflects the net equity of your account                                                                                your investment advisor, and TradeStation Securities is authorized by
at the close of the statement period, the net equity of your last         Methods of Computing Interest on Debit Balances: Interest is             you to rely fully and completely upon your investment advisor's
statement and any change since the last statement. Figures shown          charged on a day-by-day basis for any day that there is a net debit      instructions with no obligation or responsibility to verify the
for Long and Short Market Value of Securities contain netted values.      balance in your overall account. The calculation is made on a 365-day    authenticity, validity or accuracy of such instructions either with you
A more comprehensive breakout of market values is reflected within        basis at the rate or rates shown on the statement. Interest rates may    or any other person or entity, or any document or other material or
the body of the statement.                                                be changed from time to time with fluctuating money market rates or      potential source of such information.
                                                                          for other reasons.
Transaction Summary and Cash Balance Summary: Both show                                                                                            Bearer Bonds: If any securities held by us for your account are
your opening and closing balances. Transaction Summary reflects           Customer free credit balances may be used in this firm's business        bearer obligations which have been issued since December 31, 1982
the categories of cash activity. Cash and Cash Equivalent Balance         subject to the limitation of 17CFR Section 240.15c3-3 under the          with original maturities of more than one year, we agree that we will
Summary reflects the cash balances by account type. Opening               Securities Exchange Act of 1934. You have the right to receive from      satisfy the conditions set forth in subdivisions (i), (ii) and (iii) of
Balance is the credit or debit carried over from the previous period's    us in the course of normal business operation, upon demand, the          Treasury Regulation Section 1.165-12 (c) (3) and covenant that we
closing balance. Closing balance is the combination of the total debits   delivery of:                                                             will comply with the requirements of Treasury Regulation Section
and credits for the statement period together with the opening cash       a) any free credit balances to which you are entitled                    1.165-12 (c) (1) (iii) concerning the delivery of such bearer
balance. A debit balance (money you owe us) is indicated by a minus       b) any fully-paid securities to which you are entitled                   obligations.
sign in these sections.                                                   c) any securities purchased on margin upon full payment of any SECURITIES RISKS: It is agreed between you and TradeStation
Retirement Account Summary:               Reflects the contributions      indebtedness to us                                                      Securities, that you understand the risks that may apply to the
received and distributions paid during this statement period as well as   If this is a margin account and we maintain a special memorandum securities in which transactions are affected. Each security may have
for the previous year. Your Portfolio Holdings: Reflects cash and all     account for you, this is a combined statement of your general account its own special risks. Complex securities may not be appropriate for
securities in your account. Accrued interest represents interest          and special memorandum account maintained for you under Section most investors. With respect to effecting transactions in any of the
earned but not yet paid or collected on the fixed income securities       220.6 of Regulation T issued by the Board of Governors of the following types of securities, please carefully review the information
since the last coupon date. There is no guarantee that this interest      Federal Reserve System. The permanent record of this separate below, and review prospectuses if applicable. Prospectuses, if
will be paid by the issuer. Current yield is calculated by dividing the   account, as required by Regulation T, is available for your inspection. applicable, will be sent under a separate cover.
estimated annual income by the market value of the securities and
represents an estimated current yield only.                               For Option Accounts:            Further information with respect to      ETPs: Exchange-traded products (ETPs) are types of securities that
                                                                          commissions and other charges related to the execution of listed         track underlying security, index, or financial instruments. ETP╞s
Market Prices/Bond Ratings: The market value of your holdings             options transactions has been included on confirmations of such          include exchange-traded funds (ETFs) and exchange-traded notes
are as of the last business day of the statement period. Prices for       transactions previously furnished to you and such information will be    (ETNs). Here are some of the risks of these securities:
determining market values represent estimates. These estimates are        made available to you promptly upon written request.                       • ETPs are subject to market volatility and the risks of their
obtained from multiple sources, including outside services. Pricing       Use of Investment Advisors: If you have an agreement with an                  underlying investments and/or strategies.
estimates may be based on bids, prices within the bid/offer spread,       investment or trading advisor or manager (an "investment advisor")
closing prices or matrix methodology that uses data relating to other     whom you have engaged to invest and trade your funds and assets            • ETPs are subject to management fees and other expenses that
securities whose prices are more ascertainable to produce a               on your behalf, and whom you have authorized to trade your account            reduce performance.
hypothetical price based on the estimated yield spread relationship       with TradeStation Securities, you represent, warrant, acknowledge          • Complex ETPs, including commodity ETPs and ETNs, that
between the securities. Pricing estimates do not constitute bids for      and agree that: (a) as between you and TradeStation Securities,               offer leveraged or inverse exposure, may not behave the way
any securities. Actual prices realized at sale may be more or less        solely you are fully responsible for all acts, omissions and decisions        most investors expect.
than those shown on your statement. Bond ratings are received from        made by your investment advisor with respect to your account, and
outside sources. While we believe our sources for market values and                                                                                  • ETPs have specific investment strategies, management fees
                                                                          you shall fully indemnify and hold harmless TradeStation Securities,
bond ratings to be reliable, we cannot guarantee their accuracy.          and its affiliates, employees and agents, from and against any and all        and expenses, which are detailed in an ETP╞s prospectus or
                                                                                                                                                        other offering material.
                                                                          claims, damages, liabilities, losses, costs and expenses
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  • Leveraged and inverse ETPs are intended to be held no longer            Financial Statement: A financial statement of our firm is available other accounts will be sent statements at least four times during a
     than one trading session. Due to the effects of compounding            for your personal inspection at our office, or a copy will be mailed to calendar year provided that the account contains a money or security
     and the fact that they are reset daily, their performance over         you upon written request.                                               balance.
     longer periods of time can differ significantly from their stated      Custody                                                               Each customer's securities account held at TradeStation
     daily objective. As such, these may be unsuitable for retail                                                                                 Securities is insured up to the amount of total net equity
     investors who plan to hold them for longer than one trading            Retail Accounts: TradeStation Securities carries your account and
                                                                            acts as your custodian for funds and securities, once received by us, representing a loss of both securities and/or cash up to
     session.                                                                                                                                     $25,000,000 per account. The first $500,000 of protection, which
                                                                            which have been deposited directly with us by you.
  • Some ETPs may be asset backed, debt or callable securities.                                                                                   includes up to $250,000 of protection for cash, is provided by
     Please review additional risks below.                                  Institutional Accounts: TradeStation Securities clears institutional the Securities Investor Protection Corporation (SIPC) and the
                                                                            account trades or provides order execution services on Delivery balance is provided by a separate excess SIPC bond issued by
Asset Backed Securities: Debt securities that are considered                Versus Payment /Receipt Versus Payment (“DVP/RVP”) basis. Lloyd's of London covering accounts maintained at
asset-backed securities represent an interest in or are secured by a        Trades in these accounts may be cleared and settled by another TradeStation Securities, up to an additional $24,500,000 per
pool of receivables or other financial assets that are continuously         broker. Any inquiries regarding your account and the activity therein account, subject to a $900,000 per account maximum for cash
subject to prepayment. The actual yield of such asset-backed                should be directed to TradeStation Securities and the broker and a firm-wide maximum protection limit of $300,000,000.
security may vary according to the rate at which the underlying
receivables or other financial assets are prepaid. Information
                                                                            servicing your account.                                               Repurchase agreements, reverse repurchase and stock loan
concerning the factors that affect yield (including at a minimum            DVP/RVP Accounts: Quarterly account statements for DVP/RVP transactions, as well as certain mutual funds, may not be
estimated yield, weighted average life, and the prepayment                  Accounts may be suspended provided that the account is (a) carried covered by the excess SIPC bond.
assumptions underlying yield) will be furnished upon written request.       solely for the purpose of execution on a DVP/RVP basis in conformity
                                                                            with applicable rules and regulations; (b) every transaction effected
Debt and Callable Securities: Any security, such as a bond,                 for the account is done on a DVP/RVP basis in conformity with
municipal bond, debenture, note, certain ETNs, or any other similar         FINRA Rule 11860; (c) the account does not show security or money
instrument which evidences a liability of the issuer (including any         positions at the end of the quarter; and (d) the customer consents to
such security that is convertible into stock or a similar security) and     the suspension of such statements in writing. TradeStation Securities
fractional or participation interests in one or more of any of the          will provide any particular statement or statements to the customer
foregoing. Transactions in these securities may be subject to call or       promptly upon written request; and promptly reinstate the delivery of
redemption risks. Securities issued with an embedded call provision         such statements to the customer upon written request.
allow the issuer to repurchase or redeem the security up to a
specified date. These securities may be redeemed or repurchased in          Please promptly notify the office servicing your account, in
whole or in part prior to maturity and are subject to certain conditions.   writing, of any change of account information, including
Redemption and call provisions may affect the yields represented.           addresses and contact information. The office servicing your
Early redemption could affect the securities╞ yields. Maturity dates        account can be found on page 1.
may be extended by the issuer thereof, with a variable interest rate.       Please prominently include your account number(s) in all
Mutual Funds: For front-end load mutual funds, you may be eligible          correspondence.
for breakpoint discounts based on the size of your purchase, current        Inquiries concerning your account may be directed to our Client
holdings or future purchases. The sales charge you paid may differ          Services Department at (954) 652-7920 or (800) 871-3577.
slightly from the Prospectus disclosed rate due to rounding                 Additionally, please promptly report any complaints and/or statement
calculations. Please refer to the Prospectus, Statement of Additional       inaccuracies or discrepancies to TradeStation╞s Client Services
Information or contact TradeStation Securities for further information.     Department at (800) 871-3577 (in the USA) or (954) 652-7920
Other Complex Products: Other securities such as warrants/rights,           (outside of the USA), as well as any other broker servicing your
preferred stocks, or SPACs may have unique characteristics and              account, if applicable. Also, confirm any verbal communication in
risks. If you would like additional information on a security that may be   writing.
complex, please contact TradeStation Securities for information.            Reportable to the Internal Revenue Service: As required by law,
Please review TradeStation╞s “Investment and Trading Disclosures            at year end, we will report to you and to the Internal Revenue Service,
Booklet - Equities & Options” which can be found here:                      and to certain states, certain information on sales (including short
https://www.tradestation.com/important-information/ for information.        sales), dividends, and various types of interest that have been
Additional information is available and can be provided for any             credited to your account.
security upon request to TradeStation Securities.                           Statement Frequency: Statements will be mailed to customers who
                                                                            have any transaction during the statement period affecting money
                                                                            balances and/or security positions. All
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 63 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    December 29 2023
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             January 31 2024
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      December 29 2023




                                                                       #       000093777                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing

Long Market Value                         99.05    Opening Balance                                           125.53         Cash                             125.53              131.08
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities                $99.05    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $125.53             $131.08
Cash Balance                             131.08    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              15.55
                                                   Amount Credited                                           $15.55         Net Cash                        $125.53             $131.08
Net Cash Balance                        $131.08                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $230.13    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $268.77    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement             -$38.64    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $5.55
                                                   Closing Balance                                         $131.08



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
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           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     December 29 2023
                                     January 31 2024
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 4

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             131.08

Total Cash and Cash Equivalents                                                                                                                                                         $131.08

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.268000                           89.78
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                                $99.05
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $99.05

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.31
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          15.19

Total Accrued Interest                                                                                                                                                                     15.50


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
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General Information: This Account statement is furnished solely by relationship between the securities. Pricing estimates do not your account, and you shall fully indemnify and hold harmless
TradeStation Securities, Inc. (“TradeStation Securities”) for your        constitute bids for any securities. Actual prices realized at sale may   TradeStation Securities, and its affiliates, employees and agents,
account at TradeStation Securities. Unless otherwise defined herein,      be more or less than those shown on your statement. While we             from and against any and all claims, damages, liabilities, losses,
capitalized terms have the same meaning as in your Account                believe our sources for market values to be reliable, we cannot          costs and expenses (including reasonable attorneys' fees and costs)
Agreement. If you receive communications from any source other            guarantee their accuracy.                                                that arise from, or relate to, any of such acts, omissions or decisions,
than TradeStation which purport to represent your holdings at             Transaction Detail: Reflects all transactions settling or processed      including, but not limited to, claims, damages, liabilities, losses, costs
TradeStation (including balances held at other institutions) you                                                                                   or expenses assertible or suffered by you or your trading account,
                                                                          for your account during this statement period.
should verify its content with this statement.                                                                                                     and claims which others may assert by or through you or on your
                                                                          Trades Executed But Not Yet Settled: Reflects any trades not yet         behalf, or on their own behalves; and (b) your investment advisor has
Please contact TradeStation Securities, in writing, of any material       settled by the statement closing date. The settlement date is            given us instructions, which may be changed by your investment
changes in your financial circumstances or investment objectives.         indicated in the first column.                                           advisor from time to time, concerning amounts that are to be
You have represented that you are a self-directed trader, and thus,
                                                                          IMPORTANT NOTES                                                          withdrawn from your account(s) and paid to your investment advisor
you are responsible for all trading decisions in your account. If your
                                                                                                                                                   (or your investment advisor's account with us) as and for your
investment objectives include seeking short-term trading profits by       Dividend Income: Dividends credited to your account may include          investment advisor's fees, charges or costs payable by you pursuant
actively trading highly speculative methods, your account may carry a     capital gains, non-taxable dividends and/or dividends on foreign         to your agreement with your investment advisor, and TradeStation
higher degree of risk.                                                    stock. You may wish to consult your tax advisor with regard to your      Securities is authorized by you to rely fully and completely upon your
Address and contact changes: If you fail to notify TradeStation           tax liability on these dividend credits.                                 investment advisor's instructions with no obligation or responsibility to
Securities, in writing, of any changes of address, email or phone         Methods of Computing Interest on Debit Balances: Interest is             verify the authenticity, validity or accuracy of such instructions either
number, you may not receive important information about your              charged on a day-by-day basis for any day that there is a net debit      with you or any other person or entity, or any document or other
account, resulting in TradeStation Securities taking action, such as      balance in your overall account. The calculation is made on a 365-day    material or potential source of such information.
trading restrictions or liquidations, as disclosed in the account         basis at the rate or rates shown on the statement. Interest rates may SECURITIES RISKS
agreement.                                                                be changed from time to time with fluctuating money market rates or
                                                                          for other reasons.                                                    It is agreed between you and TradeStation Securities, that you
GUIDE TO YOUR STATEMENT
                                                                                                                                                understand the risks that may apply to the securities in which
Your statement may contain the following sections:                        Customer free credit balances may be used in TradeStation transactions are affected. Each security may have its own special
                                                                          Securities' business subject to the limitation of 17CFR Section risks. Complex securities may not be appropriate for most investors.
Your Portfolio at a Glance: Reflects the net equity of your account       240.15c3-3 under the Securities Exchange Act of 1934. You have the With respect to effecting transactions in any of the following types of
at the close of the statement period, the net equity of your last         right to receive from us in the course of normal business operation, securities, please carefully review the information below, and review
statement and any change since the last statement. Figures shown          upon demand, the delivery of:
for Long and Short Market Value of Securities contain netted values.                                                                            prospectuses, if applicable. Prospectuses, if applicable, will be
A more comprehensive breakout of market values is reflected within        a) any free credit balances to which you are entitled;                provided under a separate cover at the time of the initial transaction.
the body of the statement.                                                                                                                      Please carefully read the prospectus or summary prospectus,
                                                                          b) any fully-paid securities to which you are entitled; or            including investment objectives, risks, charges, and expenses.
Transaction Summary and Cash Balance Summary: Both show                   c) any securities purchased on margin upon full payment of any ETPs: Exchange-traded products (ETPs) are types of securities that
your opening and closing balances. Transaction Summary reflects           indebtedness to us.
the categories of cash activity. Cash and Cash Equivalent Balance                                                                               track underlying security, index, or financial instruments. ETP╞s
Summary reflects the cash balances by account type. Opening               If this is a margin account and we maintain a special memorandum include exchange-traded funds (ETFs) and exchange-traded notes
Balance is the credit or debit carried over from the previous period's    account for you, this is a combined statement of your general account (ETNs). Here are some of the risks of these securities
closing balance. Closing balance is the combination of the total debits   and special memorandum account maintained for you under Section         • ETPs are subject to market volatility and the risks of their
and credits for the statement period together with the opening cash       220.6 of Regulation T issued by the Board of Governors of the             underlying investments and/or strategies.
balance. A debit balance (money you owe us) is indicated by a minus       Federal Reserve System. The permanent record of this separate
                                                                          account, as required by Regulation T, is available for your inspection. • ETPs are subject to management fees and other expenses that
sign in these sections.
                                                                                                                                                    reduce performance.
Retirement Account Summary:               Reflects the contributions      For Option Accounts:           Further information with respect to
                                                                          commissions and other charges related to the execution of listed        • Complex ETPs, including commodity ETPs and ETNs, that
received and distributions paid during this statement period as well as
                                                                          options transactions has been included on confirmations of such           offer leveraged or inverse exposure, may not behave the way
for the previous year.
                                                                          transactions previously furnished to you and such information will be     most investors expect
Your Portfolio Holdings: Reflects cash and all securities for your        made available to you promptly upon written request.                    • Spot Bitcoin ETFs carry many of the same underlying risks as
account during this statement period.
                                                                          Use of Investment Advisors: If you have an agreement with an              owning Bitcoin outright, including, but not limited to, government
Market Prices: The market value of your holdings is calculated as of      investment or trading advisor or manager (an "investment advisor")        regulation, economic conditions, manipulation, fraud, and
the last business day of the statement period. Prices for determining     whom you have engaged to invest and trade your funds and assets           cyberattacks.
market values represent estimates. These estimates are obtained           on your behalf, and whom you have authorized to trade your account      • ETPs have specific investment strategies, management fees
from multiple sources, including outside services. Pricing estimates      with TradeStation Securities, you represent, warrant, acknowledge         and expenses, which are detailed in an ETP╞s prospectus or
may be based on bids, prices within the bid/offer spread, closing         and agree that: (a) as between you and TradeStation Securities,           other offering material.
prices or matrix methodology that uses data relating to other             solely you are fully responsible for all acts, omissions and decisions
securities whose prices are more ascertainable to produce a               made by your investment advisor with respect to
hypothetical price based on the estimated yield spread
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  • Leveraged and inverse ETPs are intended to be held no longer            Statement Frequency: Statements will be mailed to customers                DVP/RVP Accounts: Quarterly account statements for DVP/RVP
     than one trading session. Due to the effects of compounding            who have any transaction during the statement period affecting             Accounts may be suspended provided that the account is (a) carried
     and the fact that they are reset daily, their performance over         money balances and/or security positions. All other accounts will be       solely for the purpose of execution on a DVP/RVP basis in conformity
     longer periods of time can differ significantly from their stated      sent statements at least four times during a calendar year provided        with applicable rules and regulations; (b) every transaction effected
     daily objective. As such, these may be unsuitable for retail           that the account contains a money or security balance.                     for the account is done on a DVP/RVP basis in conformity with
     investors who plan to hold them for longer than one trading            CUSTODY                                                                    FINRA Rule 11860; (c) the account does not show security or money
     session                                                                                                                                           positions at the end of the quarter; and (d) the customer consents to
                                                                            Retail Accounts (Non-Retirement): TradeStation Securities                  the suspension of such statements in writing. TradeStation Securities
Asset Backed Securities: Debt securities that are considered                carries your account and acts as your custodian for funds and              will provide any particular statement or statements to the customer
asset-backed securities represent an interest in or are secured by a        securities, once received by us, which have been deposited directly        promptly upon written request; and promptly reinstate the delivery of
pool of receivables or other financial assets that are continuously         with us by you.                                                            such statements to the customer upon written request.
subject to prepayment. The actual yield of such asset-backed
security may vary according to the rate at which the underlying             Retail Accounts (Retirement): You are required to open and                 Please promptly notify the office servicing your account, in
receivables or other financial assets are prepaid. Information              maintain an account with a qualified Trustee or Custodian approved         writing, of any change of account information, including
concerning the factors that affect yield (including at a minimum            by the Internal Revenue Code (IRS) under Treasury Regulation               addresses and contact information. The office servicing your
estimated yield, weighted average life, and the prepayment                  Section 1.408-2(e). TradeStation Securities does not offer custody         account can be found on page 1.
assumptions underlying yield) will be furnished upon written request.       services or act as the custodian for retirement accounts.
                                                                            TradeStation Securities carries your retirement accounts for the           Please prominently include your account number(s) in all
Debt and Callable Securities: Any security, such as a bond,                 IRS-approved custodian for your benefit.         Your Custodian is         correspondence.
municipal bond, debenture, note, certain ETNs, or any other similar         responsible for the tax reporting, controls and specific requirements      Inquiries concerning your account may be directed to our Client
instrument which evidences a liability of the issuer (including any         for these accounts needed to qualify for the tax treatment allowed         Services Department at (954) 652-7920 or (800) 871-3577.
such security that is convertible into stock or a similar security) and     under the Internal Revenue Code. Inquiries concerning your account         Additionally, please promptly report any complaints and/or statement
fractional or participation interests in one or more of any of the          or requests for the IRS approval letter should be directed to the          inaccuracies or discrepancies to TradeStation Securities╞ Client
foregoing. Transactions in these securities may be subject to call or       Custodian of your choice. The following Custodians offer retirement        Services Department at (800) 871-3577 (in the USA) or (954)
redemption risks. Securities issued with an embedded call provision         accounts through TradeStation Securities.                                  652-7920 (outside of the USA), as well as to any other account
allow the issuer to repurchase or redeem the security up to a                                                                                          executive or representative servicing your account, if applicable. Also,
specified date. These securities may be redeemed or repurchased in          STRATA Trust Company                      Equity Trust Company             confirm any verbal communication in writing.
whole or in part prior to maturity and are subject to certain conditions.   7901 Woodway Dr.                          1 Equity Way
Redemption and call provisions may affect the yields represented.           Waco, TX 76712                            Westlake, OH 44145                      Eligible customer accounts under 17 CFR Section 240.15c3-3
                                                                            https://www.stratatrust.com/              https://www.trustetc.com/professionals/ under the Securities Exchange Act of 1934 held at TradeStation
Early redemption could affect the securities╞ yields. Maturity dates        Service@StrataTrust.com                   IRAServices@EquityInstitutional.com
may be extended by the issuer thereof, with a variable interest rate.       (866) 901-2069                            (800) 955-3434                          Securities are insured up to the amount of total net equity
                                                                            Global Net Provident Fund Management Ltd. Midland Trust             representing a loss of both securities and/or cash up to
Mutual Funds: For front-end load mutual funds, you may be eligible                                                                              $25,000,000 per account. The first $500,000 of protection, which
for breakpoint discounts based on the size of your purchase, current
                                                                            Jabotinsky 9                              PO Box 07520
                                                                            Bnei Brak, Israel, 5126417                Fort Myers, FL 33919      includes up to $250,000 of protection for cash, is provided by
holdings or future purchases. The sales charge you paid may differ          https://globalnetgemel.co.il/             https://midlandtrust.com/ the Securities Investor Protection Corporation (SIPC) and the
slightly from the Prospectus disclosed rate due to rounding                 sherut@gngemel.co.il                      futures@midlandtrust.com
                                                                            (P) XX-XXXXXXX                            (239) 333-4464            balance is provided by a separate excess SIPC bond issued by
calculations. Please refer to the Prospectus, Statement of Additional                                                                           Lloyd's of London covering accounts maintained at
Information or contact TradeStation Securities for further information.      Directed Trust Company            Inspira Financial                TradeStation Securities, up to an additional $24,500,000 per
                                                                             3033 N. Central Ave., Suite 400   2001 Spring Road Suite 700
Other Complex Products: Other securities such as warrants/rights,            Phoenix, AZ 85012                 Oak Brook, IL 60523              account, subject to a $900,000 per account maximum for cash
preferred stocks, or special purpose acquisition companies (SPACs)           https://directedira.com/          https://www.mtrustcompany.com/   and a firm-wide maximum protection limit of $300,000,000.
may have unique characteristics and risks.
                                                                             info@directedira.com              futuresmail@inspirafinancial.com Repurchase agreements, reverse repurchase and stock loan
                                                                             (602) 899-9396                    (800) 258-7878
                                                                                                                                                transactions, as well as certain mutual funds, may not be
More information is provided in TradeStation Securities╞ “Investment
and Trading Disclosures Booklet – Equities & Options” which can be          Institutional Accounts: TradeStation Securities offers services to covered by the excess SIPC bond. Each account agreement
                                                                                                                                                       identifies the account type and eligibility of that account for insurance.
found here: https://www.tradestation.com/important-information/             institutional accounts including Delivery Versus Payment /Receipt
                                                                            Versus Payment (“DVP/RVP”) for clearing and order execution
                                                                                                                                                       Balances held in brokerage accounts are not deposits or other
Financial Statement: TradeStation Securities╞ financial statement is                                                                                   obligations of, or guaranteed by, any other institution, are
                                                                            services. Trades in these accounts may be cleared and settled by
available for your personal inspection at our office, or a copy will be                                                                                subject to investment risk and may lose value. SIPC does not
                                                                            another broker. Any inquiries regarding your account and the activity
mailed to you upon written request.                                                                                                                    cover balances or assets held away from TradeStation
                                                                            therein should be directed to TradeStation Securities and the
Reportable to the Internal Revenue Service: As required by law,             broker(s) servicing your account. The broker(s) servicing your             Securities.
at year end, we will report to you and to the Internal Revenue Service,     account can be found on page 1. Not all institutional accounts qualify
and to certain states, certain information on sales (including short        for protection as customer accounts as identified in 17 CFR.
sales), dividends, and various types of interest that have been             Section 240.15c3-3 under the Securities Exchange Act of 1934.
credited to your account. TradeStation does not provide tax                 Accounts not eligible are identified in the account opening
advice and encourages you to consult with your tax                          documentation.
professional.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 67 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    January 31 2024
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             February 29 2024
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      January 31 2024




                                                                       #       000096673                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                                 5 SEAFARERS CIR
                                                                                 SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing

Long Market Value                         99.06    Opening Balance                                           131.08         Cash                             131.08              136.58
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities                $99.06    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $131.08             $136.58
Cash Balance                             136.58    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              15.50
                                                   Amount Credited                                           $15.50         Net Cash                        $131.08             $136.58
Net Cash Balance                        $136.58                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $235.64    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $230.13    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement               $5.51    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $5.50
                                                   Closing Balance                                         $136.58



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 68 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     January 31 2024
                                     February 29 2024
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             136.58

Total Cash and Cash Equivalents                                                                                                                                                         $136.58

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.268020                           89.79
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                                $99.06
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                   $99.06

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.29
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                          14.21

Total Accrued Interest                                                                                                                                                                     14.50


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
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         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 January 31 2024
                                 February 29 2024
                                 11583081
                                                                     T TradeStation®
                                                                                8050 SW10th Street, Suite 2000
                                                                                                                 Page 3 of 5

                                                                                Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                  Debit Amount       Credit Amount
02/02/2024             Journal               Cash      FPL REVENUE                                                                               15.50
02/14/2024             Journal               Cash      Monthly Inactivity Fee Februar                                           -10.00
Total Miscellaneous                                                                                                            -$10.00          $15.50
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 70 of 88



General Information: This Account statement is furnished solely by relationship between the securities. Pricing estimates do not your account, and you shall fully indemnify and hold harmless
TradeStation Securities, Inc. (“TradeStation Securities”) for your        constitute bids for any securities. Actual prices realized at sale may   TradeStation Securities, and its affiliates, employees and agents,
account at TradeStation Securities. Unless otherwise defined herein,      be more or less than those shown on your statement. While we             from and against any and all claims, damages, liabilities, losses,
capitalized terms have the same meaning as in your Account                believe our sources for market values to be reliable, we cannot          costs and expenses (including reasonable attorneys' fees and costs)
Agreement. If you receive communications from any source other            guarantee their accuracy.                                                that arise from, or relate to, any of such acts, omissions or decisions,
than TradeStation which purport to represent your holdings at             Transaction Detail: Reflects all transactions settling or processed      including, but not limited to, claims, damages, liabilities, losses, costs
TradeStation (including balances held at other institutions) you                                                                                   or expenses assertible or suffered by you or your trading account,
                                                                          for your account during this statement period.
should verify its content with this statement.                                                                                                     and claims which others may assert by or through you or on your
                                                                          Trades Executed But Not Yet Settled: Reflects any trades not yet         behalf, or on their own behalves; and (b) your investment advisor has
Please contact TradeStation Securities, in writing, of any material       settled by the statement closing date. The settlement date is            given us instructions, which may be changed by your investment
changes in your financial circumstances or investment objectives.         indicated in the first column.                                           advisor from time to time, concerning amounts that are to be
You have represented that you are a self-directed trader, and thus,
                                                                          IMPORTANT NOTES                                                          withdrawn from your account(s) and paid to your investment advisor
you are responsible for all trading decisions in your account. If your
                                                                                                                                                   (or your investment advisor's account with us) as and for your
investment objectives include seeking short-term trading profits by       Dividend Income: Dividends credited to your account may include          investment advisor's fees, charges or costs payable by you pursuant
actively trading highly speculative methods, your account may carry a     capital gains, non-taxable dividends and/or dividends on foreign         to your agreement with your investment advisor, and TradeStation
higher degree of risk.                                                    stock. You may wish to consult your tax advisor with regard to your      Securities is authorized by you to rely fully and completely upon your
Address and contact changes: If you fail to notify TradeStation           tax liability on these dividend credits.                                 investment advisor's instructions with no obligation or responsibility to
Securities, in writing, of any changes of address, email or phone         Methods of Computing Interest on Debit Balances: Interest is             verify the authenticity, validity or accuracy of such instructions either
number, you may not receive important information about your              charged on a day-by-day basis for any day that there is a net debit      with you or any other person or entity, or any document or other
account, resulting in TradeStation Securities taking action, such as      balance in your overall account. The calculation is made on a 365-day    material or potential source of such information.
trading restrictions or liquidations, as disclosed in the account         basis at the rate or rates shown on the statement. Interest rates may SECURITIES RISKS
agreement.                                                                be changed from time to time with fluctuating money market rates or
                                                                          for other reasons.                                                    It is agreed between you and TradeStation Securities, that you
GUIDE TO YOUR STATEMENT
                                                                                                                                                understand the risks that may apply to the securities in which
Your statement may contain the following sections:                        Customer free credit balances may be used in TradeStation transactions are affected. Each security may have its own special
                                                                          Securities' business subject to the limitation of 17CFR Section risks. Complex securities may not be appropriate for most investors.
Your Portfolio at a Glance: Reflects the net equity of your account       240.15c3-3 under the Securities Exchange Act of 1934. You have the With respect to effecting transactions in any of the following types of
at the close of the statement period, the net equity of your last         right to receive from us in the course of normal business operation, securities, please carefully review the information below, and review
statement and any change since the last statement. Figures shown          upon demand, the delivery of:
for Long and Short Market Value of Securities contain netted values.                                                                            prospectuses, if applicable. Prospectuses, if applicable, will be
A more comprehensive breakout of market values is reflected within        a) any free credit balances to which you are entitled;                provided under a separate cover at the time of the initial transaction.
the body of the statement.                                                                                                                      Please carefully read the prospectus or summary prospectus,
                                                                          b) any fully-paid securities to which you are entitled; or            including investment objectives, risks, charges, and expenses.
Transaction Summary and Cash Balance Summary: Both show                   c) any securities purchased on margin upon full payment of any ETPs: Exchange-traded products (ETPs) are types of securities that
your opening and closing balances. Transaction Summary reflects           indebtedness to us.
the categories of cash activity. Cash and Cash Equivalent Balance                                                                               track underlying security, index, or financial instruments. ETP╞s
Summary reflects the cash balances by account type. Opening               If this is a margin account and we maintain a special memorandum include exchange-traded funds (ETFs) and exchange-traded notes
Balance is the credit or debit carried over from the previous period's    account for you, this is a combined statement of your general account (ETNs). Here are some of the risks of these securities
closing balance. Closing balance is the combination of the total debits   and special memorandum account maintained for you under Section         • ETPs are subject to market volatility and the risks of their
and credits for the statement period together with the opening cash       220.6 of Regulation T issued by the Board of Governors of the             underlying investments and/or strategies.
balance. A debit balance (money you owe us) is indicated by a minus       Federal Reserve System. The permanent record of this separate
                                                                          account, as required by Regulation T, is available for your inspection. • ETPs are subject to management fees and other expenses that
sign in these sections.
                                                                                                                                                    reduce performance.
Retirement Account Summary:               Reflects the contributions      For Option Accounts:           Further information with respect to
                                                                          commissions and other charges related to the execution of listed        • Complex ETPs, including commodity ETPs and ETNs, that
received and distributions paid during this statement period as well as
                                                                          options transactions has been included on confirmations of such           offer leveraged or inverse exposure, may not behave the way
for the previous year.
                                                                          transactions previously furnished to you and such information will be     most investors expect
Your Portfolio Holdings: Reflects cash and all securities for your        made available to you promptly upon written request.                    • Spot Bitcoin ETFs carry many of the same underlying risks as
account during this statement period.
                                                                          Use of Investment Advisors: If you have an agreement with an              owning Bitcoin outright, including, but not limited to, government
Market Prices: The market value of your holdings is calculated as of      investment or trading advisor or manager (an "investment advisor")        regulation, economic conditions, manipulation, fraud, and
the last business day of the statement period. Prices for determining     whom you have engaged to invest and trade your funds and assets           cyberattacks.
market values represent estimates. These estimates are obtained           on your behalf, and whom you have authorized to trade your account      • ETPs have specific investment strategies, management fees
from multiple sources, including outside services. Pricing estimates      with TradeStation Securities, you represent, warrant, acknowledge         and expenses, which are detailed in an ETP╞s prospectus or
may be based on bids, prices within the bid/offer spread, closing         and agree that: (a) as between you and TradeStation Securities,           other offering material.
prices or matrix methodology that uses data relating to other             solely you are fully responsible for all acts, omissions and decisions
securities whose prices are more ascertainable to produce a               made by your investment advisor with respect to
hypothetical price based on the estimated yield spread
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  • Leveraged and inverse ETPs are intended to be held no longer            Statement Frequency: Statements will be mailed to customers                DVP/RVP Accounts: Quarterly account statements for DVP/RVP
     than one trading session. Due to the effects of compounding            who have any transaction during the statement period affecting             Accounts may be suspended provided that the account is (a) carried
     and the fact that they are reset daily, their performance over         money balances and/or security positions. All other accounts will be       solely for the purpose of execution on a DVP/RVP basis in conformity
     longer periods of time can differ significantly from their stated      sent statements at least four times during a calendar year provided        with applicable rules and regulations; (b) every transaction effected
     daily objective. As such, these may be unsuitable for retail           that the account contains a money or security balance.                     for the account is done on a DVP/RVP basis in conformity with
     investors who plan to hold them for longer than one trading            CUSTODY                                                                    FINRA Rule 11860; (c) the account does not show security or money
     session                                                                                                                                           positions at the end of the quarter; and (d) the customer consents to
                                                                            Retail Accounts (Non-Retirement): TradeStation Securities                  the suspension of such statements in writing. TradeStation Securities
Asset Backed Securities: Debt securities that are considered                carries your account and acts as your custodian for funds and              will provide any particular statement or statements to the customer
asset-backed securities represent an interest in or are secured by a        securities, once received by us, which have been deposited directly        promptly upon written request; and promptly reinstate the delivery of
pool of receivables or other financial assets that are continuously         with us by you.                                                            such statements to the customer upon written request.
subject to prepayment. The actual yield of such asset-backed
security may vary according to the rate at which the underlying             Retail Accounts (Retirement): You are required to open and                 Please promptly notify the office servicing your account, in
receivables or other financial assets are prepaid. Information              maintain an account with a qualified Trustee or Custodian approved         writing, of any change of account information, including
concerning the factors that affect yield (including at a minimum            by the Internal Revenue Code (IRS) under Treasury Regulation               addresses and contact information. The office servicing your
estimated yield, weighted average life, and the prepayment                  Section 1.408-2(e). TradeStation Securities does not offer custody         account can be found on page 1.
assumptions underlying yield) will be furnished upon written request.       services or act as the custodian for retirement accounts.
                                                                            TradeStation Securities carries your retirement accounts for the           Please prominently include your account number(s) in all
Debt and Callable Securities: Any security, such as a bond,                 IRS-approved custodian for your benefit.         Your Custodian is         correspondence.
municipal bond, debenture, note, certain ETNs, or any other similar         responsible for the tax reporting, controls and specific requirements      Inquiries concerning your account may be directed to our Client
instrument which evidences a liability of the issuer (including any         for these accounts needed to qualify for the tax treatment allowed         Services Department at (954) 652-7920 or (800) 871-3577.
such security that is convertible into stock or a similar security) and     under the Internal Revenue Code. Inquiries concerning your account         Additionally, please promptly report any complaints and/or statement
fractional or participation interests in one or more of any of the          or requests for the IRS approval letter should be directed to the          inaccuracies or discrepancies to TradeStation Securities╞ Client
foregoing. Transactions in these securities may be subject to call or       Custodian of your choice. The following Custodians offer retirement        Services Department at (800) 871-3577 (in the USA) or (954)
redemption risks. Securities issued with an embedded call provision         accounts through TradeStation Securities.                                  652-7920 (outside of the USA), as well as to any other account
allow the issuer to repurchase or redeem the security up to a                                                                                          executive or representative servicing your account, if applicable. Also,
specified date. These securities may be redeemed or repurchased in          STRATA Trust Company                      Equity Trust Company             confirm any verbal communication in writing.
whole or in part prior to maturity and are subject to certain conditions.   7901 Woodway Dr.                          1 Equity Way
Redemption and call provisions may affect the yields represented.           Waco, TX 76712                            Westlake, OH 44145                      Eligible customer accounts under 17 CFR Section 240.15c3-3
                                                                            https://www.stratatrust.com/              https://www.trustetc.com/professionals/ under the Securities Exchange Act of 1934 held at TradeStation
Early redemption could affect the securities╞ yields. Maturity dates        Service@StrataTrust.com                   IRAServices@EquityInstitutional.com
may be extended by the issuer thereof, with a variable interest rate.       (866) 901-2069                            (800) 955-3434                          Securities are insured up to the amount of total net equity
                                                                            Global Net Provident Fund Management Ltd. Midland Trust             representing a loss of both securities and/or cash up to
Mutual Funds: For front-end load mutual funds, you may be eligible                                                                              $25,000,000 per account. The first $500,000 of protection, which
for breakpoint discounts based on the size of your purchase, current
                                                                            Jabotinsky 9                              PO Box 07520
                                                                            Bnei Brak, Israel, 5126417                Fort Myers, FL 33919      includes up to $250,000 of protection for cash, is provided by
holdings or future purchases. The sales charge you paid may differ          https://globalnetgemel.co.il/             https://midlandtrust.com/ the Securities Investor Protection Corporation (SIPC) and the
slightly from the Prospectus disclosed rate due to rounding                 sherut@gngemel.co.il                      futures@midlandtrust.com
                                                                            (P) XX-XXXXXXX                            (239) 333-4464            balance is provided by a separate excess SIPC bond issued by
calculations. Please refer to the Prospectus, Statement of Additional                                                                           Lloyd's of London covering accounts maintained at
Information or contact TradeStation Securities for further information.      Directed Trust Company            Inspira Financial                TradeStation Securities, up to an additional $24,500,000 per
                                                                             3033 N. Central Ave., Suite 400   2001 Spring Road Suite 700
Other Complex Products: Other securities such as warrants/rights,            Phoenix, AZ 85012                 Oak Brook, IL 60523              account, subject to a $900,000 per account maximum for cash
preferred stocks, or special purpose acquisition companies (SPACs)           https://directedira.com/          https://www.mtrustcompany.com/   and a firm-wide maximum protection limit of $300,000,000.
may have unique characteristics and risks.
                                                                             info@directedira.com              futuresmail@inspirafinancial.com Repurchase agreements, reverse repurchase and stock loan
                                                                             (602) 899-9396                    (800) 258-7878
                                                                                                                                                transactions, as well as certain mutual funds, may not be
More information is provided in TradeStation Securities╞ “Investment
and Trading Disclosures Booklet – Equities & Options” which can be          Institutional Accounts: TradeStation Securities offers services to covered by the excess SIPC bond. Each account agreement
                                                                                                                                                       identifies the account type and eligibility of that account for insurance.
found here: https://www.tradestation.com/important-information/             institutional accounts including Delivery Versus Payment /Receipt
                                                                            Versus Payment (“DVP/RVP”) for clearing and order execution
                                                                                                                                                       Balances held in brokerage accounts are not deposits or other
Financial Statement: TradeStation Securities╞ financial statement is                                                                                   obligations of, or guaranteed by, any other institution, are
                                                                            services. Trades in these accounts may be cleared and settled by
available for your personal inspection at our office, or a copy will be                                                                                subject to investment risk and may lose value. SIPC does not
                                                                            another broker. Any inquiries regarding your account and the activity
mailed to you upon written request.                                                                                                                    cover balances or assets held away from TradeStation
                                                                            therein should be directed to TradeStation Securities and the
Reportable to the Internal Revenue Service: As required by law,             broker(s) servicing your account. The broker(s) servicing your             Securities.
at year end, we will report to you and to the Internal Revenue Service,     account can be found on page 1. Not all institutional accounts qualify
and to certain states, certain information on sales (including short        for protection as customer accounts as identified in 17 CFR.
sales), dividends, and various types of interest that have been             Section 240.15c3-3 under the Securities Exchange Act of 1934.
credited to your account. TradeStation does not provide tax                 Accounts not eligible are identified in the account opening
advice and encourages you to consult with your tax                          documentation.
professional.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 72 of 88

,· 1radeStatiQn                                                                  (954) 652-7920 * (800) 871-3577                         STATEMENT PERIOD    February 29 2024
             8050 SW 10th Street, Suite 2000
                                                                                 www.tradestation.com
                                                                                 ___________________                                     THROUGH             March 28 2024
             Plantation, FL 33324
                                                                                                                                         ACCOUNT NUMBER      11583081
                                                                                                                                         LAST STATEMENT      February 29 2024




                                                                       #       000102641                                  I=0000

                                                                                 INTER-COASTAL WATERWAYS LLC
                                                                       ~~ 5 SEAFARERS CIR
                                                                       B         SAVANNAH GA 31411-3112




             Your Portfolio at a Glance                           Transaction Summary                                              Cash & Cash Equivalent Balance Summary
                                     This Period                                                                                                            Opening             Closing

Long Market Value                        100.39    Opening Balance                                           136.58         Cash                             136.58              141.08
Short Market Value                         0.00    Securities Sold                                             0.00
Total Value of Securities               $100.39    Funds Deposited                                             0.00
                                                   Money Fund Purchase                                         0.00         Net Cash Balance                $136.58             $141.08
Cash Balance                             141.08    Dividends/Interest                                          0.00
Short Cash Balance                         0.00    Miscellaneous                                              14.50
                                                   Amount Credited                                           $14.50         Net Cash                        $136.58             $141.08
Net Cash Balance                        $141.08                                                                             & Cash Equivalent Balance
                                                   Securities Bought                                           0.00
Net Equity                              $241.47    Funds Withdrawn                                             0.00
                                                   Money Fund Redemption                                       0.00
Net Equity Last Statement               $235.64    Dividends/Interest Charged                                  0.00
                                                   Miscellaneous                                             -10.00
Change Since Last Statement               $5.83    Amount Debited                                           -$10.00
                                                   Net Cash Activity                                          $4.50
                                                   Closing Balance                                         $141.08



                                                   Same day transfers of cash between account types are not
                                                   included in this section; such transfers, as well as details for all
                                                   transactions this period appear in the Transaction Detail.

                                                   The period ending market value of any investments shown on
                                                   this statement will be reported as the Fair Market Value to the
                                                   Internal Revenue Service in the format required by IRS rules,
                                                   and at the appropriate reporting time.
                              Case 0:24-cv-60891-AHS Document 1-4 Entered on FLSD Docket 05/24/2024 Page 73 of 88
           STATEMENT PERIOD
           THROUGH
           ACCOUNT NUMBER
                                     February 29 2024
                                     March 28 2024
                                     11583081
                                                                              T TradeStation®
                                                                                          8050 SW10th Street, Suite 2000
                                                                                                                                                       Page 2 of 5

                                                                                          Plantation, FL 33324



Your Portfolio Holdings
Cash and Cash Equivalents                                                                                                                                                               Market
Description                                                                                                                                                                             Value

Cash Balance                                                                                                                                                                             141.08

Total Cash and Cash Equivalents                                                                                                                                                         $141.08

Equities                                                                                              Account                                                                          Market
GLOBAL TECH INDS GROUP INC                                 GTII                                       Cash               335.000                        0.272000                           91.12
CONTRA GLOBAL TECH IND                                     379CNÝ                                     Cash                11.000                        0.000000                             0.00
NEXT BRIDGE HYDROCARBONS                                   59199&                                     Cash            9,269.000                         0.001000                             9.27



Total Equities and Options                                                                                                                                                              $100.39
TOTAL MARKET VALUE OF PRICED SECURITIES                                                                                                                                                 $100.39

Fully Paid Lending Position Detail                                                                                                                                                     Accrued
Description                                                Symbol/Cusip                                                                                                                Interest
GLOBAL TECH INDS GROUP INC                                 GTII                                                                                                                              0.20
NEXT BRIDGE HYDROCARBONS                                   59199&                                                                                                                            9.80

Total Accrued Interest                                                                                                                                                                     10.00


As a participant in TradeStation╞s Fully Paid Lending Program (the “Program”), the activity reflected above shows the Accrued Interest earned this month for your Fully Paid Lending positions as of the date
of this statement. You may sell shares being loaned at any time. Accrued Interest reflects interest that is accrued daily and posted to your account monthly. Any and all activity referenced in this section of
the statement is conducted pursuant to the Master Securities Lending Agreement and Risk Disclosures to which you agreed and acknowledged at the time you entered the Program.
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         STATEMENT PERIOD
         THROUGH
         ACCOUNT NUMBER
                                 February 29 2024
                                 March 28 2024
                                 11583081
                                                                    T TradeStation®
                                                                                8050 SW10th Street, Suite 2000
                                                                                                                 Page 3 of 5

                                                                                Plantation, FL 33324

Transaction Detail
Miscellaneous Activity
                                             Account
Date                   Transaction           Type      Description                      Symbol/Cusip                  Debit Amount       Credit Amount
03/04/2024             Journal               Cash      FPL REVENUE                                                                               14.50
03/12/2024             Journal               Cash      Monthly Inactivity Fee March 2                                           -10.00
Total Miscellaneous                                                                                                            -$10.00          $14.50
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General Information: This Account statement is furnished solely by relationship between the securities. Pricing estimates do not your account, and you shall fully indemnify and hold harmless
TradeStation Securities, Inc. (“TradeStation Securities”) for your        constitute bids for any securities. Actual prices realized at sale may   TradeStation Securities, and its affiliates, employees and agents,
account at TradeStation Securities. Unless otherwise defined herein,      be more or less than those shown on your statement. While we             from and against any and all claims, damages, liabilities, losses,
capitalized terms have the same meaning as in your Account                believe our sources for market values to be reliable, we cannot          costs and expenses (including reasonable attorneys' fees and costs)
Agreement. If you receive communications from any source other            guarantee their accuracy.                                                that arise from, or relate to, any of such acts, omissions or decisions,
than TradeStation which purport to represent your holdings at             Transaction Detail: Reflects all transactions settling or processed      including, but not limited to, claims, damages, liabilities, losses, costs
TradeStation (including balances held at other institutions) you                                                                                   or expenses assertible or suffered by you or your trading account,
                                                                          for your account during this statement period.
should verify its content with this statement.                                                                                                     and claims which others may assert by or through you or on your
                                                                          Trades Executed But Not Yet Settled: Reflects any trades not yet         behalf, or on their own behalves; and (b) your investment advisor has
Please contact TradeStation Securities, in writing, of any material       settled by the statement closing date. The settlement date is            given us instructions, which may be changed by your investment
changes in your financial circumstances or investment objectives.         indicated in the first column.                                           advisor from time to time, concerning amounts that are to be
You have represented that you are a self-directed trader, and thus,
                                                                          IMPORTANT NOTES                                                          withdrawn from your account(s) and paid to your investment advisor
you are responsible for all trading decisions in your account. If your
                                                                                                                                                   (or your investment advisor's account with us) as and for your
investment objectives include seeking short-term trading profits by       Dividend Income: Dividends credited to your account may include          investment advisor's fees, charges or costs payable by you pursuant
actively trading highly speculative methods, your account may carry a     capital gains, non-taxable dividends and/or dividends on foreign         to your agreement with your investment advisor, and TradeStation
higher degree of risk.                                                    stock. You may wish to consult your tax advisor with regard to your      Securities is authorized by you to rely fully and completely upon your
Address and contact changes: If you fail to notify TradeStation           tax liability on these dividend credits.                                 investment advisor's instructions with no obligation or responsibility to
Securities, in writing, of any changes of address, email or phone         Methods of Computing Interest on Debit Balances: Interest is             verify the authenticity, validity or accuracy of such instructions either
number, you may not receive important information about your              charged on a day-by-day basis for any day that there is a net debit      with you or any other person or entity, or any document or other
account, resulting in TradeStation Securities taking action, such as      balance in your overall account. The calculation is made on a 365-day    material or potential source of such information.
trading restrictions or liquidations, as disclosed in the account         basis at the rate or rates shown on the statement. Interest rates may SECURITIES RISKS
agreement.                                                                be changed from time to time with fluctuating money market rates or
                                                                          for other reasons.                                                    It is agreed between you and TradeStation Securities, that you
GUIDE TO YOUR STATEMENT
                                                                                                                                                understand the risks that may apply to the securities in which
Your statement may contain the following sections:                        Customer free credit balances may be used in TradeStation transactions are affected. Each security may have its own special
                                                                          Securities' business subject to the limitation of 17CFR Section risks. Complex securities may not be appropriate for most investors.
Your Portfolio at a Glance: Reflects the net equity of your account       240.15c3-3 under the Securities Exchange Act of 1934. You have the With respect to effecting transactions in any of the following types of
at the close of the statement period, the net equity of your last         right to receive from us in the course of normal business operation, securities, please carefully review the information below, and review
statement and any change since the last statement. Figures shown          upon demand, the delivery of:
for Long and Short Market Value of Securities contain netted values.                                                                            prospectuses, if applicable. Prospectuses, if applicable, will be
A more comprehensive breakout of market values is reflected within        a) any free credit balances to which you are entitled;                provided under a separate cover at the time of the initial transaction.
the body of the statement.                                                                                                                      Please carefully read the prospectus or summary prospectus,
                                                                          b) any fully-paid securities to which you are entitled; or            including investment objectives, risks, charges, and expenses.
Transaction Summary and Cash Balance Summary: Both show                   c) any securities purchased on margin upon full payment of any ETPs: Exchange-traded products (ETPs) are types of securities that
your opening and closing balances. Transaction Summary reflects           indebtedness to us.
the categories of cash activity. Cash and Cash Equivalent Balance                                                                               track underlying security, index, or financial instruments. ETP╞s
Summary reflects the cash balances by account type. Opening               If this is a margin account and we maintain a special memorandum include exchange-traded funds (ETFs) and exchange-traded notes
Balance is the credit or debit carried over from the previous period's    account for you, this is a combined statement of your general account (ETNs). Here are some of the risks of these securities
closing balance. Closing balance is the combination of the total debits   and special memorandum account maintained for you under Section         • ETPs are subject to market volatility and the risks of their
and credits for the statement period together with the opening cash       220.6 of Regulation T issued by the Board of Governors of the             underlying investments and/or strategies.
balance. A debit balance (money you owe us) is indicated by a minus       Federal Reserve System. The permanent record of this separate
                                                                          account, as required by Regulation T, is available for your inspection. • ETPs are subject to management fees and other expenses that
sign in these sections.
                                                                                                                                                    reduce performance.
Retirement Account Summary:               Reflects the contributions      For Option Accounts:           Further information with respect to
                                                                          commissions and other charges related to the execution of listed        • Complex ETPs, including commodity ETPs and ETNs, that
received and distributions paid during this statement period as well as
                                                                          options transactions has been included on confirmations of such           offer leveraged or inverse exposure, may not behave the way
for the previous year.
                                                                          transactions previously furnished to you and such information will be     most investors expect
Your Portfolio Holdings: Reflects cash and all securities for your        made available to you promptly upon written request.                    • Spot Bitcoin ETFs carry many of the same underlying risks as
account during this statement period.
                                                                          Use of Investment Advisors: If you have an agreement with an              owning Bitcoin outright, including, but not limited to, government
Market Prices: The market value of your holdings is calculated as of      investment or trading advisor or manager (an "investment advisor")        regulation, economic conditions, manipulation, fraud, and
the last business day of the statement period. Prices for determining     whom you have engaged to invest and trade your funds and assets           cyberattacks.
market values represent estimates. These estimates are obtained           on your behalf, and whom you have authorized to trade your account      • ETPs have specific investment strategies, management fees
from multiple sources, including outside services. Pricing estimates      with TradeStation Securities, you represent, warrant, acknowledge         and expenses, which are detailed in an ETP╞s prospectus or
may be based on bids, prices within the bid/offer spread, closing         and agree that: (a) as between you and TradeStation Securities,           other offering material.
prices or matrix methodology that uses data relating to other             solely you are fully responsible for all acts, omissions and decisions
securities whose prices are more ascertainable to produce a               made by your investment advisor with respect to
hypothetical price based on the estimated yield spread
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  • Leveraged and inverse ETPs are intended to be held no longer            Statement Frequency: Statements will be mailed to customers                DVP/RVP Accounts: Quarterly account statements for DVP/RVP
     than one trading session. Due to the effects of compounding            who have any transaction during the statement period affecting             Accounts may be suspended provided that the account is (a) carried
     and the fact that they are reset daily, their performance over         money balances and/or security positions. All other accounts will be       solely for the purpose of execution on a DVP/RVP basis in conformity
     longer periods of time can differ significantly from their stated      sent statements at least four times during a calendar year provided        with applicable rules and regulations; (b) every transaction effected
     daily objective. As such, these may be unsuitable for retail           that the account contains a money or security balance.                     for the account is done on a DVP/RVP basis in conformity with
     investors who plan to hold them for longer than one trading            CUSTODY                                                                    FINRA Rule 11860; (c) the account does not show security or money
     session                                                                                                                                           positions at the end of the quarter; and (d) the customer consents to
                                                                            Retail Accounts (Non-Retirement): TradeStation Securities                  the suspension of such statements in writing. TradeStation Securities
Asset Backed Securities: Debt securities that are considered                carries your account and acts as your custodian for funds and              will provide any particular statement or statements to the customer
asset-backed securities represent an interest in or are secured by a        securities, once received by us, which have been deposited directly        promptly upon written request; and promptly reinstate the delivery of
pool of receivables or other financial assets that are continuously         with us by you.                                                            such statements to the customer upon written request.
subject to prepayment. The actual yield of such asset-backed
security may vary according to the rate at which the underlying             Retail Accounts (Retirement): You are required to open and                 Please promptly notify the office servicing your account, in
receivables or other financial assets are prepaid. Information              maintain an account with a qualified Trustee or Custodian approved         writing, of any change of account information, including
concerning the factors that affect yield (including at a minimum            by the Internal Revenue Code (IRS) under Treasury Regulation               addresses and contact information. The office servicing your
estimated yield, weighted average life, and the prepayment                  Section 1.408-2(e). TradeStation Securities does not offer custody         account can be found on page 1.
assumptions underlying yield) will be furnished upon written request.       services or act as the custodian for retirement accounts.
                                                                            TradeStation Securities carries your retirement accounts for the           Please prominently include your account number(s) in all
Debt and Callable Securities: Any security, such as a bond,                 IRS-approved custodian for your benefit.         Your Custodian is         correspondence.
municipal bond, debenture, note, certain ETNs, or any other similar         responsible for the tax reporting, controls and specific requirements      Inquiries concerning your account may be directed to our Client
instrument which evidences a liability of the issuer (including any         for these accounts needed to qualify for the tax treatment allowed         Services Department at (954) 652-7920 or (800) 871-3577.
such security that is convertible into stock or a similar security) and     under the Internal Revenue Code. Inquiries concerning your account         Additionally, please promptly report any complaints and/or statement
fractional or participation interests in one or more of any of the          or requests for the IRS approval letter should be directed to the          inaccuracies or discrepancies to TradeStation Securities╞ Client
foregoing. Transactions in these securities may be subject to call or       Custodian of your choice. The following Custodians offer retirement        Services Department at (800) 871-3577 (in the USA) or (954)
redemption risks. Securities issued with an embedded call provision         accounts through TradeStation Securities.                                  652-7920 (outside of the USA), as well as to any other account
allow the issuer to repurchase or redeem the security up to a                                                                                          executive or representative servicing your account, if applicable. Also,
specified date. These securities may be redeemed or repurchased in          STRATA Trust Company                      Equity Trust Company             confirm any verbal communication in writing.
whole or in part prior to maturity and are subject to certain conditions.   7901 Woodway Dr.                          1 Equity Way
Redemption and call provisions may affect the yields represented.           Waco, TX 76712                            Westlake, OH 44145                      Eligible customer accounts under 17 CFR Section 240.15c3-3
                                                                            https://www.stratatrust.com/              https://www.trustetc.com/professionals/ under the Securities Exchange Act of 1934 held at TradeStation
Early redemption could affect the securities╞ yields. Maturity dates        Service@StrataTrust.com                   IRAServices@EquityInstitutional.com
may be extended by the issuer thereof, with a variable interest rate.       (866) 901-2069                            (800) 955-3434                          Securities are insured up to the amount of total net equity
                                                                            Global Net Provident Fund Management Ltd. Midland Trust             representing a loss of both securities and/or cash up to
Mutual Funds: For front-end load mutual funds, you may be eligible                                                                              $25,000,000 per account. The first $500,000 of protection, which
for breakpoint discounts based on the size of your purchase, current
                                                                            Jabotinsky 9                              PO Box 07520
                                                                            Bnei Brak, Israel, 5126417                Fort Myers, FL 33919      includes up to $250,000 of protection for cash, is provided by
holdings or future purchases. The sales charge you paid may differ          https://globalnetgemel.co.il/             https://midlandtrust.com/ the Securities Investor Protection Corporation (SIPC) and the
slightly from the Prospectus disclosed rate due to rounding                 sherut@gngemel.co.il                      futures@midlandtrust.com
                                                                            (P) XX-XXXXXXX                            (239) 333-4464            balance is provided by a separate excess SIPC bond issued by
calculations. Please refer to the Prospectus, Statement of Additional                                                                           Lloyd's of London covering accounts maintained at
Information or contact TradeStation Securities for further information.      Directed Trust Company            Inspira Financial                TradeStation Securities, up to an additional $24,500,000 per
                                                                             3033 N. Central Ave., Suite 400   2001 Spring Road Suite 700
Other Complex Products: Other securities such as warrants/rights,            Phoenix, AZ 85012                 Oak Brook, IL 60523              account, subject to a $900,000 per account maximum for cash
preferred stocks, or special purpose acquisition companies (SPACs)           https://directedira.com/          https://www.mtrustcompany.com/   and a firm-wide maximum protection limit of $300,000,000.
may have unique characteristics and risks.
                                                                             info@directedira.com              futuresmail@inspirafinancial.com Repurchase agreements, reverse repurchase and stock loan
                                                                             (602) 899-9396                    (800) 258-7878
                                                                                                                                                transactions, as well as certain mutual funds, may not be
More information is provided in TradeStation Securities╞ “Investment
and Trading Disclosures Booklet – Equities & Options” which can be          Institutional Accounts: TradeStation Securities offers services to covered by the excess SIPC bond. Each account agreement
                                                                                                                                                       identifies the account type and eligibility of that account for insurance.
found here: https://www.tradestation.com/important-information/             institutional accounts including Delivery Versus Payment /Receipt
                                                                            Versus Payment (“DVP/RVP”) for clearing and order execution
                                                                                                                                                       Balances held in brokerage accounts are not deposits or other
Financial Statement: TradeStation Securities╞ financial statement is                                                                                   obligations of, or guaranteed by, any other institution, are
                                                                            services. Trades in these accounts may be cleared and settled by
available for your personal inspection at our office, or a copy will be                                                                                subject to investment risk and may lose value. SIPC does not
                                                                            another broker. Any inquiries regarding your account and the activity
mailed to you upon written request.                                                                                                                    cover balances or assets held away from TradeStation
                                                                            therein should be directed to TradeStation Securities and the
Reportable to the Internal Revenue Service: As required by law,             broker(s) servicing your account. The broker(s) servicing your             Securities.
at year end, we will report to you and to the Internal Revenue Service,     account can be found on page 1. Not all institutional accounts qualify
and to certain states, certain information on sales (including short        for protection as customer accounts as identified in 17 CFR.
sales), dividends, and various types of interest that have been             Section 240.15c3-3 under the Securities Exchange Act of 1934.
credited to your account. TradeStation does not provide tax                 Accounts not eligible are identified in the account opening
advice and encourages you to consult with your tax                          documentation.
professional.
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1•TradeStation®                                                                                       Tax Information
                                                                                                     Account 11583081
                                                                                                                                                        Statement Date: 02/10/2023
                                                                                                                                                        Document ID:    1WF3 CM1 1VBB                                      2022
 8050 SW 10th Street                                                         INTER-COASTAL WATERWAYS LLC                                                ACTIVE TRADER
 Suite 2000                                                                  5 SEAFARERS CIRCLE
 Plantation, FL 33324                                                        SAVANNAH, GA 31411                                                          Office Code: FT
 Customer Service: 800-822-0512                                                                                                                          Rep Code: FTR9



 PAYER'S TIN: XX-XXXXXXX                                                     RECIPIENT'S TIN: XX-XXX1248
 11 - [ ] FATCA filing requirement (see instructions)                                            Summary Information                                                                 13 - [ ] FATCA filing requirement (see instructions)

 DIVIDENDS AND DISTRIBUTIONS                               2022 1099-DIV*               OMB No. 1545-0110       MISCELLANEOUS INFORMATION                                            2022 1099-MISC*                OMB No. 1545-0115
  1a- Total ordinary dividends (includes lines 1b, 5, 2e)                                            0.00                     2- Royalties                                                                                      0.00
  1b- Qualified dividends                                                                            0.00                     3- Other income                                                                                   0.00
  2a- Total capital gain distributions (includes lines 2b, 2c, 2d, 2f)                               0.00                     4- Federal income tax withheld                                                                    0.00
  2b- Unrecaptured Section 1250 gain                                                                 0.00                     8- Substitute payments in lieu of dividends or interest                                           0.00
  2c- Section 1202 gain                                                                              0.00
  2d- Collectibles (28%) gain                                                                        0.00                  SECTION 1256 CONTRACTS                                    2022 1099-B*                   OMB No. 1545-0715
  2e- Section 897 ordinary dividends                                                                 0.00
  2f- Section 897 capital gain                                                                       0.00                    8- Profit or (loss) realized in 2022 on closed contracts                                           0.00
   3- Nondividend distributions                                                                      0.00                    9- Unrealized profit or (loss) on open contracts-12/31/2021                                        0.00
   4- Federal income tax withheld                                                                    0.00                   10- Unrealized profit or (loss) on open contracts-12/31/2022                                        0.00
   5- Section 199A dividends                                                                         0.00                   11- Aggregate profit or (loss) on contracts                                                         0.00
   6- Investment expenses                                                                            0.00
                                                                                                                              If applicable, proceeds from sale transactions appear summarized below and are
   8- Foreign country or US possession:          7- Foreign tax paid:                                0.00
                                                                                                                              detailed in subsequent sections of this document.
   9- Cash liquidation distributions                                                                 0.00
  10- Noncash liquidation distributions                                                              0.00       * This is important tax information and is being furnished to the Internal Revenue Service.
  12- Exempt-interest dividends (includes line 13)                                                   0.00       If you are required to file a return, a negligence penalty or other sanction may be imposed on
  13- Specified private activity bond interest dividends (AMT)                                       0.00       you if this income is taxable and the IRS determines that it has not been reported.

 SUMMARY OF PROCEEDS, GAINS & LOSSES, ADJUSTMENTS AND WITHHOLDING
 Refer to the 1099-B and Proceeds not reported to the IRS pages to ensure that you consider all relevant items and to determine the correct gains and losses. The amounts shown below are for informational purposes.
 Term                  Form 8949 type                                                   Proceeds                     Cost basis                Market discount         Wash sale loss disallowed             Net gain or loss(-)

 Short                 A (basis reported to the IRS)                                   149,517.60                     181,910.59                             0.00                                   0.00                -32,392.99
 Short                 B (basis not reported to the IRS)                                 4,740.29                       4,964.00                             0.00                                   0.00                   -223.71
 Short                 C (Form 1099-B not received)                                          0.00                           0.00                             0.00                                   0.00                      0.00
                                       Total Short-term                                154,257.89                     186,874.59                             0.00                                   0.00                -32,616.70
 Long                  D (basis reported to the IRS)                                          0.00                            0.00                           0.00                                   0.00                        0.00
 Long                  E (basis not reported to the IRS)                                      0.00                            0.00                           0.00                                   0.00                        0.00
 Long                  F (Form 1099-B not received)                                           0.00                            0.00                           0.00                                   0.00                        0.00
                                       Total Long-term                                        0.00                            0.00                           0.00                                   0.00                        0.00
 Undetermined          B or E (basis not reported to the IRS)                                 0.00                            0.00                           0.00                                   0.00                        0.00
 Undetermined          C or F (Form 1099-B not received)                                      0.00                            0.00                           0.00                                   0.00                        0.00
                                       Total Undetermined-term                                0.00                            0.00                           0.00                                   0.00                        0.00

                                           Grand total                                 154,257.89                     186,874.59                             0.00                                   0.00                -32,616.70
 Withholding                                                                              Amount
 Federal income tax withheld                                                                  0.00

Changes to dividend tax classifications processed after your original tax form is issued for 2022 may require an amended tax form.
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Tradestation Securities, Inc.                                                                                                                                  Account      11583081
                                                                                    Summary Information
2022                                                                                            (continued)                                                    02/10/2023

INTEREST INCOME                           2022 1099-INT                        OMB No. 1545-0112              ORIGINAL ISSUE DISCOUNT AND ADJUSTMENTS
This is important tax information and is being furnished to the Internal Revenue Service.                     Use bond-by-bond details from the Form 1099-OID page(s) to determine amounts of
If you are required to file a return, a negligence penalty or other sanction may be                           Original Issue Discount income for your income tax return(s). The amounts shown in this
imposed on you if this income is taxable and the IRS determines that it has not been                          section are for your reference when preparing your income tax return(s).
reported.                                                                                                         Original issue discount for the year                                            0.00
 1- Interest income (not included in line 3)                                            3.57                      Acquisition premium (covered lots)                                              0.00
 2- Early withdrawal penalty                                                            0.00                      Acquisition premium (noncovered lots)                                           0.00
 3- Interest on US Savings Bonds & Treasury obligations                                 0.00                      Original issue discount on Treasury obligations                                 0.00
 4- Federal income tax withheld                                                         0.00                      Acquisition premium, Treasury obligations (covered lots)                        0.00
 5- Investment expenses                                                                 0.00                      Acquisition premium, Treasury obligations (noncovered lots)                     0.00
 7- Foreign country or US possession:         6- Foreign tax paid:                      0.00                      Tax-exempt OID                                                                  0.00
 8- Tax-exempt interest (includes line 9)                                               0.00                      Tax-exempt OID (lots not reported)                                              0.00
 9- Specified private activity bond interest (AMT)                                      0.00                      Acquisition premium (covered)                                                   0.00
10- Market discount (covered lots)                                                      0.00                      Acquisition premium (lots not reported)                                         0.00
11- Bond premium (covered lots)                                                         0.00                      Tax-exempt OID on private activity bonds                                        0.00
12- Bond premium on Treasury obligations (covered lots)                                 0.00                      Tax-exempt OID on private activity bonds (lots not reported)                    0.00
13- Bond premium on tax-exempt bonds (categorized below)                                0.00                      Acquisition premium (AMT, covered)                                              0.00
       Tax-exempt obligations (covered lots)                                            0.00                      Acquisition premium (AMT, lots not reported)                                    0.00
       Tax-exempt private activity obligations (AMT, covered lots)                      0.00                      Market discount (all lots)                                                      0.00
14- Tax-exempt and tax credit bond CUSIP number                                    See detail                     Early withdrawal penalty                                                        0.00
    FATCA filing requirement [ ]                                                                                  Investment expenses                                                             0.00


The following amounts are not reported to the IRS. They are presented here for your reference                 RECONCILIATIONS, FEES, EXPENSES AND EXPENDITURES
when preparing your tax return(s).                                                                            The amounts in this section are not reported to the IRS. They are presented here for your
                                                                                                              reference when preparing your income tax return(s).
    Taxable accrued interest paid                                                        0.00
    Taxable accrued Treasury interest paid                                               0.00                     Other Receipts & Reconciliations- Partnership distributions                       0.00
    Tax-exempt accrued interest paid                                                     0.00                     Other Receipts & Reconciliations- Foreign tax paid- partnership                   0.00
    Tax-exempt accrued interest paid (AMT)                                               0.00                     Other Receipts & Reconciliations- Return of principal                             0.00
    Taxable accrued nonqualified interest paid                                           0.00                     Other Receipts & Reconciliations- Deferred income payment                         0.00
    Tax-exempt accrued nonqualified interest paid                                        0.00                     Other Receipts & Reconciliations- Deemed premium                                  0.00
    Tax-exempt accrued nonqualified interest paid (AMT)                                  0.00                     Other Receipts & Reconciliations- Income accrual- UIT                             0.00
    Nonqualified interest                                                                0.00                     Other Receipts & Reconciliations- Basis adjustments                               0.00
    Tax-exempt nonqualified interest                                                     0.00                     Other Receipts & Reconciliations- Foreign tax pd beyond treaty                    0.00
    Tax-exempt nonqualified interest (AMT)                                               0.00                     Fees & Expenses- Margin interest                                                  8.43
    Interest shortfall on contingent payment debt                                        0.00                     Fees & Expenses- Dividends paid on short position                                 0.00
    Bond premium- Non Treasury obligations (noncovered lots)                             0.00                     Fees & Expenses- Interest paid on short position                                  0.00
    Bond premium- Treasury obligations (noncovered lots)                                 0.00                     Fees & Expenses- Non reportable distribution expense                              0.00
    Bond premium- Tax-exempt obligations (noncovered lots)                               0.00                     Fees & Expenses- Other expenses                                                   0.00
    Bond premium- Tax-exempt obligations (AMT, noncovered lots)                          0.00                     Fees & Expenses- Severance tax                                                    0.00
    Market discount (noncovered lots)                                                    0.00                     Fees & Expenses- Organizational expense                                           0.00
                                                                                                                  Fees & Expenses- Miscellaneous fees                                               0.00
STATE TAX WITHHELD                                                                                                Fees & Expenses- Tax-exempt investment expense                                    0.00
Use the details of the State Tax Withholding page(s) to determine the appropriate amounts for                     Opening transactions- Securities & options purchased                      263,184.56
your income tax return(s). The amounts shown in this section are for your reference.                              Opening transactions- Installment payments                                        0.00
                                                                                                                  Opening transactions- Short sales & options written                               0.00
    1099-DIV total withheld                                                              0.00                     Foreign Exchange Gains & Losses- Foreign currency gain/loss                       0.00
    1099-INT total withheld                                                              0.00
    1099-OID total withheld                                                              0.00
    1099-MISC total withheld                                                             0.00
    1099-B total withheld                                                                0.00
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 Tradestation Securities, Inc.                                                                                                                                    Account     11583081
                                                        Proceeds from Broker and Barter Exchange Transactions
 2022       1099-B*   OMB No. 1545-0715                                                                                                                           02/10/2023
 Sales transactions are organized into sections according to term (long, short or undetermined) and covered status (covered or noncovered). For tax lots whose term is undetermined, use your historical
 documents to establish the cost basis and date of purchase. The Box 12, basis is reported to the IRS indicator checkmark, is reflected as being checked in the title of the covered securities pages of
 Forms 1099-B, short-term and long-term. The title pages of the noncovered securities pages for Forms 1099-B reflect that Box 12 is not being checked, as these securities are not being reported to the
 IRS.

 Several columns include both an amount and a qualifying notation to its right. Where proceeds are the result of an option exercise or assignment, there is indication of whether the amount is N (net of
 option premium) or G (Gross). Accrued market discount and wash sale loss disallowed appear in the same column, identified by the letters D or W, respectively. Where you are not permitted to
 recognize a loss, an indication of X (change in control or capital structure) or Z (other corporate action) is used. The change in control condition is reported to the IRS for covered lots. Neither the
 disallowance of loss due to a corporate action nor the amount of gain or loss is reported to the IRS in any instance.

 Some tax lots may have notations in the column of Additional Information because they require special treatment on your tax returns. Sales of securities such as Contingent Payment Debt Instruments
 (CPDI) are marked as “Ordinary” because gains and losses on these instruments generally do not qualify as short- or long-term capital transactions. Similarly, lots noted as “3 - [X] Collectible” are
 handled distinctly under the tax code. These conditions are reported to the IRS. You may wish to consult with your tax advisor, the IRS or your state tax authority regarding the proper treatment for
 these scenarios. With further regard to Box 3, there is also a checkmark to indicate the proceeds of sale are from a Qualified Opportunity Zone Fund investment - a QOF. If the proceeds are from a QOF
 the Additional Information column will reflect the following - “3 - [X] Proceeds from QOF.” The tax treatment for QOF investments can be complex and you may wish to consult your tax advisor about
 such sales.

 Closing of written options is presented in a distinct manner in accordance with IRS regulation. For these transactions the Cost or other basis (column 1e) is always presented as $0.00 and the Proceeds
 (column 1d) is the net of the amount received when the option was written and the cost to close the position.

FATCA filing requirement [ ]

SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)
Report on Form 8949, Part I with Box A checked. Basis is provided to the IRS. (Line 12)
“Gain or loss (-)” is NOT reported to the IRS.
1a- Description of property/CUSIP/Symbol
 1c- Date                                                   1d- Proceeds &                                     1f- Accrued mkt disc (D) &           Gain or loss(-) &
 sold or                                                        6- Reported    1b- Date          1e- Cost or           1g- Wash sale loss    7- Loss not allowed (X)
 disposed                             Quantity              (G)ross or (N)et   acquired          other basis               disallowed (W)       also not reported (Z) Additional information
ALLEGRO MICROSYSTEMS INC DEL COM / CUSIP: 01749D105 / Symbol: ALGM
 11/30/22                             300.000                    8,844.88       11/28/22           9,213.00                          ...                  -368.12      Sale
 12/07/22                              50.000                    1,587.96       11/28/22           1,535.50                          ...                    52.46      Sale
                                Security total:                 10,432.84                         10,748.50                          ...                  -315.66
ATOUR LIFESTYLE HOLDINGS LTD ADS / CUSIP: 04965M106 / Symbol: ATAT
 12/07/22                              300.000                    4,478.85      12/05/22            5,583.00                         ...                -1,104.15      Sale
BARRICK GOLD CORP COM / CUSIP: 067901108 / Symbol: GOLD
 12/06/22                              200.000                    3,289.89      12/02/22            3,396.00                         ...                  -106.11      Sale
CLOUDFLARE INC CL A COM / CUSIP: 18915M107 / Symbol: NET
 12/06/22                              100.000                    4,318.39      12/02/22            4,900.00                         ...                  -581.61      Sale
COSMOS HLDGS INC COM DO NOT USE / CUSIP: 221413206 / Symbol:
 11/29/22                           10,000.000                    6,437.57      11/29/22            6,866.80                         ...                  -429.23      Sale




* This is important tax information and is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be imposed on you if
this income is taxable and the IRS determines that it has not been reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s).
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 Tradestation Securities, Inc.                                                                                                                          Account      11583081
                                                       Proceeds from Broker and Barter Exchange Transactions
 2022       1099-B*   OMB No. 1545-0715                                                   (continued)                                                   02/10/2023

SHORT TERM TRANSACTIONS FOR COVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Lines 2 & 5)
Report on Form 8949, Part I with Box A checked. Basis is provided to the IRS. (Line 12)
“Gain or loss (-)” is NOT reported to the IRS.
1a- Description of property/CUSIP/Symbol
 1c- Date                                                  1d- Proceeds &                                1f- Accrued mkt disc (D) &          Gain or loss(-) &
 sold or                                                       6- Reported    1b- Date     1e- Cost or           1g- Wash sale loss   7- Loss not allowed (X)
 disposed                             Quantity             (G)ross or (N)et   acquired     other basis               disallowed (W)      also not reported (Z) Additional information
CRESCENT PT ENERGY CORP COM / CUSIP: 22576C101 / Symbol: CPG
 12/07/22                            1,000.000                  6,930.61      11/30/22       7,900.00                        ...                 -969.39      Sale
DISNEY WALT CO COM DISNEY / CUSIP: 254687106 / Symbol: DIS
 12/05/22                               50.000                  4,949.87      11/29/22       4,715.50                        ...                  234.37      Sale
INSIGNIA SYS INC COM / CUSIP: 45765Y204 / Symbol: ISIG
 11/30/22                               75.000                    622.47      11/28/22         653.25                        ...                   -30.78     Sale
META MATLS INC COM / CUSIP: 59134N104 / Symbol: MMAT
 12/05/22                           2,000.000                   3,561.05      12/05/22       3,551.00                        ...                   10.05      Sale
 12/07/22                           1,000.000                   2,129.82      12/06/22       1,995.00                        ...                  134.82      Sale
                                Security total:                 5,690.87                     5,546.00                        ...                  144.87
MICROSOFT CORP COM / CUSIP: 594918104 / Symbol: MSFT
 12/07/22                               40.000                  9,704.16      11/30/22       9,682.76                        ...                   21.40      Sale
NANOVIBRONIX INC COM DO NOT USE / CUSIP: 63008J108 / Symbol:
 11/29/22                          20,000.000                   9,216.26      11/28/22      18,611.78                        ...                -9,395.52     Sale
OCCIDENTAL PETE CORP DEL COM / CUSIP: 674599105 / Symbol: OXY
 12/05/22                             100.000                   6,889.83      11/29/22       6,904.00                        ...                   -14.17     Sale
ONCOSEC MED INC COM / CUSIP: 68234L405 / Symbol: ONCS
 11/22/22                          15,000.000                  61,046.91      11/22/22      80,500.00                        ...              -19,453.09      Sale
VISA INC COM CL A / CUSIP: 92826C839 / Symbol: V
 12/07/22                               50.000                 10,389.25      11/29/22      10,439.00                        ...                   -49.75     Sale
VISTA OIL & GAS S A B DE C V SPONSORED ADS / CUSIP: 92837L109 / Symbol: VIST
 12/07/22                             400.000                   5,119.83      12/02/22       5,464.00                        ...                 -344.17      Sale
 Totals :                                                     149,517.60                   181,910.59                                         -32,392.99




* This is important tax information and is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be imposed on you if
this income is taxable and the IRS determines that it has not been reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s).
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 Tradestation Securities, Inc.                                                                                                                                Account     11583081
                                                      Proceeds from Broker and Barter Exchange Transactions
 2022       1099-B*   OMB No. 1545-0715                                                      (continued)                                                      02/10/2023

SHORT TERM TRANSACTIONS FOR NONCOVERED TAX LOTS [Ordinary gains or losses are identified in the Additional information column] (Line 5)
Report on Form 8949, Part I with Box B checked. Basis is NOT provided to the IRS. (Line 12)
“Date acquired,” “Cost or other basis,” "Accrued market discount," "Wash sale loss disallowed" and “Gain or loss (-)” are NOT reported to the IRS.
1a- Description of property/CUSIP/Symbol
 1c- Date                                                     1d- Proceeds &                                    Accrued mkt disc (D) &              Gain or loss(-) &
 sold or                                                          6- Reported     Date              Cost or               Wash sale loss     7- Loss not allowed (X)
 disposed                                 Quantity            (G)ross or (N)et acquired         other basis               disallowed (W)        also not reported (Z) Additional information
ENERGY TRANSFER EQUITY L P COM UT LTD PTN / CUSIP: 29273V100 / Symbol: ET
 12/07/22                                 400.000                 4,740.29    11/29/22           4,964.00                         ...                 -223.71      Sale
 Totals :                                                         4,740.29                       4,964.00                                             -223.71




* This is important tax information and is being furnished to the Internal Revenue Service. If you are required to file a return, a negligence penalty or other sanction may be imposed on you if
this income is taxable and the IRS determines that it has not been reported. Remember, taxpayers are ultimately responsible for the accuracy of their tax return(s).
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Tradestation Securities, Inc.                                                                                                                                 Account      11583081
                                                                                Detail for Interest Income
2022                                                                                                                                                          02/10/2023
This section of your tax information statement contains the payment level detail of taxable interest and associated bond premium. Market discount will be shown here only if you have elected to
recognize it currently rather than at the time of sale or maturity. Bond premium and market discount for covered tax lots are totaled on Form 1099-INT and reported to the IRS. For noncovered tax lots,
they are totaled and presented beneath the 1099-INT for informational purposes and are not reported to the IRS.

To provide a complete picture of activity for each investment, we also include here nonreportable transactions such as accrued interest paid on purchases and payment or receipt of nonqualified
interest. Other amounts, such as federal, state and foreign tax withheld and investment expenses are shown as negative amounts but do not net against the reportable income totals.


Security description                           CUSIP and/or symbol                           Date                         Amount       Transaction type                                  Notes
.15000%11/01-11/30 $29066                                                                    11/30/22                       3.57       Credit interest


                                                                                                                              3.57     Total Interest
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Tradestation Securities, Inc.                                                                                                                               Account     11583081
                                                                                   Fees and Expenses
2022                                                                                                                                                        02/10/2023
This section of your tax information statement may contain the detail of fees and investment expenses that are not accounted for in amounts reportable to the IRS on the various Forms 1099. You may
wish to consult with your tax advisor, the IRS or your state tax authority regarding the proper tax treatment.

These amounts are provided here to facilitate an accounting of all amounts received during the year and are totaled in the Reconciliations, Fees, Expenses and Expenditures found in the Summary
Information at the beginning of the statement.


Description                                   CUSIP and/or symbol                          Date                       Amount        Transaction type                                  Notes
12.50000%12/01-12/30     $820                                                              12/30/22                     -8.43       Margin interest paid

                                                                                                                         -8.43      Total Margin interest paid
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Tradestation Securities, Inc.                                                                                         Account   11583081
                                                            Opening Transactions
2022                                                                                                                  02/10/2023


Security Description                  CUSIP and/or symbol    Opening date   Quantity      Amount     Transaction type                      Notes
ALLEGRO MICROSYSTEMS INC DEL COM      01749D105   ALGM       11/28/22         350.00    -10,748.50   Purchase

ATOUR LIFESTYLE HOLDINGS LTD ADS      04965M106   ATAT       12/05/22         300.00     -5,583.00   Purchase

BARRICK GOLD CORP COM                 067901108   GOLD       12/02/22         200.00     -3,396.00   Purchase

CLOUDFLARE INC CL A COM               18915M107   NET        12/02/22         100.00     -4,900.00   Purchase

COSMOS HLDGS INC COM DO NOT USE       221413206              11/29/22       10,000.00    -6,866.80   Purchase

CRESCENT PT ENERGY CORP COM           22576C101   CPG        11/30/22        1,000.00    -7,900.00   Purchase

DISNEY WALT CO COM DISNEY             254687106   DIS        11/29/22          50.00     -4,715.50   Purchase

ENERGY TRANSFER EQUITY L P COM UT     29273V100   ET         11/29/22         400.00     -4,964.00   Purchase
LTD PTN

INSIGNIA SYS INC COM                  45765Y204   ISIG       11/28/22          75.00      -653.25    Purchase

META MATLS INC COM                    59134N104   MMAT       12/05/22        2,000.00    -3,551.00   Purchase
                                                             12/06/22        1,000.00    -1,995.00   Purchase
                                                                                         -5,546.00   Security Total

META MATLS INC PFD SER A DO NOT USE   59134N203              12/05/22          100.00      -795.00   Purchase
                                                             12/05/22          400.00    -3,184.00   Purchase
                                                             12/05/22          500.00    -3,945.00   Purchase
                                                             12/05/22          500.00    -3,994.98   Purchase
                                                             12/05/22          500.00    -3,998.00   Purchase
                                                             12/05/22        1,000.00    -8,017.00   Purchase
                                                             12/06/22          100.00      -844.00   Purchase
                                                             12/06/22        3,800.00   -31,143.70   Purchase
                                                             12/07/22           30.00      -252.39   Purchase
                                                             12/07/22          114.00      -922.40   Purchase
                                                             12/07/22          250.00    -2,100.00   Purchase
                                                             12/07/22        1,525.00   -15,097.50   Purchase
                                                             12/08/22          450.00    -2,016.00   Purchase
                                                                                        -76,309.97   Security Total

MICROSOFT CORP COM                    594918104   MSFT       11/30/22          40.00     -9,682.76   Purchase

NANOVIBRONIX INC COM DO NOT USE       63008J108              11/28/22       20,000.00   -18,611.78   Purchase

OCCIDENTAL PETE CORP DEL COM          674599105   OXY        11/29/22         100.00     -6,904.00   Purchase
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Tradestation Securities, Inc.                                                                                            Account   11583081
                                                         Opening Transactions
2022                                                             (continued)                                             02/10/2023


Security Description               CUSIP and/or symbol    Opening date         Quantity      Amount     Transaction type                      Notes
ONCOSEC MED INC COM                68234L405   ONCS       11/22/22             5,000.00    -22,500.00   Purchase
                                                          11/22/22             5,000.00    -27,000.00   Purchase
                                                          11/22/22             5,000.00    -31,000.00   Purchase
                                                                                           -80,500.00   Security Total

VISA INC COM CL A                  92826C839   V          11/29/22                50.00    -10,439.00   Purchase

VISTA OIL & GAS S A B DE C V       92837L109   VIST       12/02/22              400.00      -5,464.00   Purchase
SPONSORED ADS


                                                                                          -263,184.56   Total Opening Transactions
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                                                                                                                                                                                                                                                   Page           10 of           12
                                                                                                                              Instructions for Recipient
Common Instructions for Recipient                                                            payer of the election in writing in accordance with Regulations section 1.6045-1(n)(5),        Line 1b. This box may be blank if box 5 is checked or if the securities sold were
Recipient's taxpayer identification number (TIN). For your protection, this form may         shows the market discount that accrued on the debt instrument during the year while            acquired on a variety of dates. For short sales, the date shown is the date you acquired
show only the last four digits of your TIN (social security number (SSN), individual         held by you, unless it was reported on Form 1099-OID. For a taxable or tax-exempt              the security delivered to close the short sale.
taxpayer identification number (ITIN), adoption taxpayer identification number (ATIN), or    covered security acquired on or after January 1, 2015, accrued market discount will be         Line 1c. Shows the trade date of the sale or exchange. For short sales, the date shown
employer identification number (EIN)). However, the issuer has reported your complete        calculated on a constant yield basis unless you notified your payer in writing in              is the date the security was delivered to close the short sale. For aggregate reporting in
TIN to the IRS.                                                                              accordance with Regulations section 1.6045-1(n)(5) that you did not want to make a             boxes 8 through 11, no entry will be present.
Account number. May show an account or other unique number the payer assigned to             constant yield election for market discount under section 1276(b). Report the accrued          Line 1d. Shows the cash proceeds, reduced by any commissions or transfer taxes
distinguish your account.                                                                    market discount on your income tax return as directed in the Instructions for Forms            related to the sale, for transactions involving stocks, debt, commodities, forward
Backup Withholding. Shows backup withholding. Generally, a payer must backup                 1040 and 1040-SR. Market discount on a tax-exempt security is includible in taxable            contracts, non-Section 1256 option contracts, or securities futures contracts. May show
withhold if you did not furnish your taxpayer identification number. See Form W-9 and        income as interest income.                                                                     the proceeds from the disposition of your interest(s) in a widely held fixed investment
Pub. 505 for more information. Report this amount on your income tax return as tax           Line 11. For a taxable covered security (other than a U.S. Treasury obligation), shows         trust. May also show the aggregate amount of cash and the fair market value of any
withheld.                                                                                    the amount of premium amortization allocable to the interest payment(s), unless you            stock or other property received in a reportable change in control or capital structure
Nominees. If this 1099 form includes amounts belonging to another person, you are            notified the payer in writing in accordance with Regulations section 1.6045-1(n)(5) that       arising from the corporate transfer of property to a foreign corporation. Losses on
considered a nominee recipient. You must file as the “payer” the respective Form 1099        you did not want to amortize bond premium under section 171. If an amount is reported          forward contracts or nonSection 1256 option contracts are shown in parentheses. This
(DIV, INT, or OID) Copy A (with a Form 1096) to the IRS for each of the other owners         in this line, see the Instructions for Schedule B (Form 1040 or 1040-SR) to determine          box does not include proceeds from regulated futures contracts or Section 1256 option
as recipient(s) to show their allocable share of the income and you must furnish the         the net amount of interest includible in income on Form 1040 or 1040-SR with respect to        contracts. Report this amount on Form 8949 or on Schedule D (Form 1040 or 1040-SR)
respective Copy B Form(s) and amounts to each owner. A spouse is not required to file        the security. If an amount is not reported in this line for a taxable covered security         (whichever is applicable) as explained in the Instructions for Schedule D (Form 1040 or
a nominee return to show amounts owned by the other spouse. See the General                  acquired at a premium and the payer is reporting premium amortization, the payer has           1040-SR).
Instructions for Certain Information Returns.                                                reported a net amount of interest in line 1. If the amount in line 11 is greater than the      Line 1e. Shows the cost or other basis of securities sold. If the securities were acquired
FATCA filing requirement. If the FATCA filing requirement box is checked, the payer          amount of interest paid on the covered security, see Regulations section 1.171-2(a)(4).        through the exercise of a noncompensatory option granted or acquired on or after
is reporting on Form 1099 to satisfy its chapter 4 account reporting requirement. You        Line 12. For a U.S. Treasury obligation that is a covered security, shows the amount of        January 1, 2014, the basis has been adjusted to reflect your option premium. If the
also may have a filing requirement. See the Instructions for Form 8938.                      premium amortization allocable to the interest payment(s), unless you notified the payer       securities were acquired through the exercise of a noncompensatory option granted or
                                                                                             in writing in accordance with Regulations section 1.6045-1(n)(5) that you did not want to      acquired before January 1, 2014, your broker is permitted, but not required, to adjust
Keep tax documents for your records.                                                         amortize bond premium under section 171. If an amount is reported in this line, see the        the basis to reflect your option premium. If the securities were acquired through the
                                                                                             Instructions for Schedule B (Form 1040 or 1040-SR) to determine the net amount of              exercise of a compensatory option, the basis has not been adjusted to include any
                                                                                             interest includible in income on Form 1040 or 1040-SR with respect to the U.S.                 amount related to the option that was reported to you on a Form W-2. If box 5 is
1099-INT Instructions for Recipient                                                          Treasury obligation. If an amount is not reported in this line for a U.S. Treasury             checked, box 1e may be blank. See the Instructions for Form 8949, the Instructions for
The information provided may be different for covered and noncovered securities. For a       obligation that is a covered security acquired at a premium and the payer is reporting         Schedule D (Form 1040 or 1040-SR), or Pub. 550 for details.
description of covered securities, see the Instructions for Form 8949. For a taxable         premium amortization, the payer has reported a net amount of interest in line 3. If the        Line 1f. Shows the amount of accrued market discount. For details on market discount,
covered security acquired at a premium, unless you notified the payer in writing in          amount in line 12 is greater than the amount of interest paid on the U.S. Treasury             see the Schedule D (Form 1040 or 1040-SR) instructions, the Instructions for Form
accordance with Regulations section 1.6045-1(n)(5) that you did not want to amortize         obligation, see Regulations section 1.171-2(a)(4).                                             8949, and Pub. 550. If box 5 is checked, box 1f may be blank.
the premium under section 171, or for a tax-exempt covered security acquired at a            Line 13. For a tax-exempt covered security, shows the amount of premium amortization
premium, your payer generally must report either (1) a net amount of interest that                                                                                                          Line 1g. Shows the amount of nondeductible loss in a wash sale transaction. For
                                                                                             allocable to the interest payment(s). If an amount is reported in this line, see Pub. 550 to   details on wash sales, see the Schedule D (Form 1040 or 1040-SR) instructions, the
reflects the offset of the amount of interest paid to you by the amount of premium           determine the net amount of tax-exempt interest reportable on Form 1040 or 1040-SR.            Instructions for Form 8949, and Pub. 550. If box 5 is checked, box 1g may be blank.
amortization allocable to the payment(s), or (2) a gross amount for both the interest paid   If an amount is not reported in this line for a tax-exempt covered security acquired at a
to you and the premium amortization allocable to the payment(s). If you did notify your                                                                                                     Line 2. The short-term and long-term boxes pertain to short-term gain or loss and
                                                                                             premium, the payer has reported a net amount of interest in line 8 or 9, whichever is          long-term gain or loss. If the “Ordinary” box is checked, your security may be subject to
payer that you did not want to amortize the premium on a taxable covered security, then
                                                                                             applicable. If the amount in line 13 is greater than the amount of interest paid on the        special rules. For example, gain on a contingent payment debt instrument subject to the
your payer will only report the gross amount of interest paid to you. For a noncovered
                                                                                             tax-exempt covered security, the excess is a nondeductible loss. See Regulations               noncontingent bond method generally is treated as ordinary interest income rather than
security acquired at a premium, your payer is only required to report the gross amount       section 1.171-2(a)(4)(ii).
of interest paid to you.                                                                                                                                                                    as capital gain. See the Instructions for Form 8949, Pub. 550, or Pub. 1212 for more
                                                                                             Line 14. Shows CUSIP number(s) for tax-exempt bond(s) on which tax-exempt interest             details on whether there are any special rules or adjustments that might apply to your
Line 1. Shows taxable interest paid to you during the calendar year by the payer. This
                                                                                             was paid, or tax credit bond(s) on which taxable interest was paid or tax credit was           security. If box 5 is checked, box 2 may be blank.
does not include interest shown in line 3. May also show the total amount of the credits
                                                                                             allowed, to you during the calendar year. If blank, no CUSIP number was issued for the         Line 3. If checked, proceeds are from a transaction involving collectibles or from a
from clean renewable energy bonds, new clean renewable energy bonds, qualified
                                                                                             bond(s).                                                                                       Qualified Opportunity Fund (QOF).
energy conservation bonds, qualified zone academy bonds, qualified school
                                                                                             Lines 15-17. State tax withheld reporting lines.                                               Line 4. Shows backup withholding. Generally, a payer must backup withhold if you did
construction bonds, and build America bonds that must be included in your interest
                                                                                             Future developments. For the latest information about developments related to Form             not furnish your TIN to the payer. See Form W-9 for information on backup withholding.
income. These amounts were treated as paid to you during 2022 on the credit
                                                                                             1099-INT and its instructions, such as legislation enacted after they were published, go       Include this amount on your income tax return as tax withheld.
allowance dates (March 15, June 15, September 15, and December 15). For more
                                                                                             to www.irs.gov/Form1099INT.                                                                    Line 5. If checked, the securities sold were noncovered securities and boxes 1b, 1e, 1f,
information, see Form 8912. See the instructions above for a taxable covered security
                                                                                             Free File. Go to www.irs.gov/FreeFile to see if you qualify for no-cost online federal tax     1g, and 2 may be blank. Generally, a noncovered security means: stock purchased
acquired at a premium.
                                                                                             preparation, e-filing, and direct deposit or payment options.                                  before 2011, stock in most mutual funds purchased before 2012, stock purchased in or
Line 2. Shows interest or principal forfeited because of early withdrawal of time savings.
You may deduct this amount to figure your adjusted gross income on your income tax                                                                                                          transferred to a dividend reinvestment plan before 2012, debt acquired before 2014,
return. See the Instructions for Forms 1040 and 1040-SR to see where to take the                                                                                                            options granted or acquired before 2014, and securities futures contracts entered into
deduction.                                                                                   1099-B Instructions for Recipient                                                              before 2014.
Line 3. Shows interest on U.S. Savings Bonds, Treasury bills, Treasury bonds, and            Brokers and barter exchanges must report proceeds from (and in some cases, basis               Line 6. If the exercise of a noncompensatory option resulted in a sale of a security, a
Treasury notes. This may or may not all be taxable. See Pub. 550. This interest is           for) transactions to you and the IRS on Form 1099-B. Reporting is also required when           checked “net proceeds” box indicates whether the amount in box 1d was adjusted for
exempt from state and local income taxes. This interest is not included in line 1. See the   your broker knows or has reason to know that a corporation in which you own stock has          option premium.
instructions above for a taxable covered security acquired at a premium.                     had a reportable change in control or capital structure. You may be required to                Line 7. If checked, you cannot take a loss on your tax return based on gross proceeds
Line 4. Shows backup withholding. Generally, a payer must backup withhold if you did         recognize gain from the receipt of cash, stock, or other property that was exchanged for       from a reportable change in control or capital structure reported in box 1d. See the Form
not furnish your TIN or you did not furnish the correct TIN to the payer. See Form W-9.      the corporation’s stock. If your broker reported this type of transaction to you, the          8949 and Schedule D (Form 1040 or 1040-SR) instructions. The broker should advise
Include this amount on your income tax return as tax withheld.                               corporation is identified in box 1a.                                                           you of any losses on a separate statement.
Line 5. Any amount shown is your share of investment expenses of a singleclass               CUSIP number. Shows the CUSIP (Committee on Uniform Security Identification                    Line 12. If checked, the basis in box 1e has been reported to the IRS and either the
REMIC. This amount is included in line 1. Note: This amount is not deductible.               Procedures) number or other applicable identifying number.                                     short-term or the long-term gain or loss box in box 2 will be checked. If box 12 is
Line 6. Shows foreign tax paid. You may be able to claim this tax as a deduction or a        Applicable checkbox on Form 8949. Indicates where to report this transaction on                checked on Form(s) 1099-B and NO adjustment is required, see the instructions for
credit on your Form 1040 or 1040-SR. See your tax return instructions.                       Form 8949 and Schedule D (Form 1040 or 1040-SR), and which checkbox is                         your Schedule D (Form 1040 or 1040-SR) as you may be able to report your transaction
Line 7. Shows the country or U.S. possession to which the foreign tax was paid.              applicable. See the instructions for your Schedule D (Form 1040 or 1040-SR) and/or             directly on Schedule D (Form 1040 or 1040-SR). If the “Ordinary” box in box 2 is
                                                                                             Form 8949.                                                                                     checked, an adjustment may be required.
Line 8. Shows tax-exempt interest paid to you during the calendar year by the payer.
See how to report this amount in the Instructions for Forms 1040 and 1040-SR. This           Line 1a. Shows a brief description of the item or service for which amounts are being          Line 13. Shows the cash you received, the fair market value of any property or services
amount may be subject to backup withholding. See Line 4 above. See the instructions          reported. For regulated futures contracts and forward contracts, “RFC” or other                you received, and the fair market value of any trade credits or scrip credited to your
above for a tax-exempt covered security acquired at a premium.                               appropriate description may be shown. For Section 1256 option contracts, “Section              account by a barter exchange. See Pub. 525.
Line 9. Shows tax-exempt interest subject to the alternative minimum tax. This amount        1256 option” or other appropriate description may be shown. For a corporation that had         Lines 14-16. Show state(s)/local income tax information.
is included in line 8. See the Instructions for Form 6251. See the instructions above for    a reportable change in control or capital structure, this box may show the class of stock      Future developments. For the latest information about any developments related to
a tax-exempt covered security acquired at a premium.                                         as C (common), P (preferred), or O (other).                                                    Form 1099-B and its instructions, such as legislation enacted after they were published,
Line 10. For a taxable or tax-exempt covered security, if you made an election under                                                                                                        go to www.irs.gov/Form1099B.
section 1278(b) to include market discount in income as it accrues and you notified your
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                                                                                             Instructions for Recipient
Free File. Go to www.irs.gov/FreeFile to see if you qualify for no-cost online federal tax
preparation, e-filing, and direct deposit or payment options.
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